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  1 Nicholas E. Mitchell
    7575 E. 29th Place, Suite 4006
  2
    Denver, CO 80238
  3 nmitchell@independentmonitor.com
  4
      Monitor
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  6
                        UNITED STATES DISTRICT COURT
  7
                      CENTRAL DISTRICT OF CALIFORNIA
  8
                                    WESTERN DIVISION
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 10                                            CV No. 15-05903 DDP (JEMX)
 11   UNITED STATES OF AMERICA,
                       Plaintiff,              MONITOR’S THIRTEENTH
 12
                                               REPORT
 13                    v.
 14   COUNTY OF LOS ANGELES AND
      LOS ANGELES COUNTY SHERIFF
 15   ALEX VILLANUEVA, in his Official
      Capacity,
 16
                       Defendants.
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                                                        Case No. CV No. 15-05903 DDP (JEMX)
                               MONITOR'S THIRTEENTH REPORT
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  1        Pursuant to Paragraph 109 of the Joint Settlement Agreement Regarding Los
  2 Angeles County Jails, the Monitor appointed by this Court hereby submits the
  3 attached Report “describing the steps taken” by the County of Los Angeles and the
  4 Los Angeles County Sheriff Department (“Department”) during the six-month
  5 period from July 1, 2021, through December 31, 2021, “to implement the
  6 Agreement and evaluating the extent to which they have complied with this
  7 Agreement.” This Report takes into consideration the advice and assistance I have
  8 received from the Subject Matter Experts appointed by this Court and the comments
  9 from the Parties in accordance with Paragraph 110 of the Agreement. I am available
 10 to answer any questions the Court may have regarding my Report at such times as
 11 are convenient for the Court and the parties.
 12
 13 DATED: March 3, 2022                Respectfully submitted,
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                                        By: /s/ Nicholas E. Mitchell
 17                                         Nicholas E. Mitchell
                                            Monitor
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                                                          Case No. CV No. 15-05903 DDP (JEMX)
                                 MONITOR'S THIRTEENTH REPORT
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                             MONITOR’S THIRTEENTH REPORT
           This Thirteenth Report sets forth the Monitor’s assessments of the implementation
   of the Settlement Agreement (the “Agreement” or “DOJ Agreement”) between the
   County of Los Angeles (the “County”) and the United States Department of Justice
   (“DOJ”) for the treatment of inmates with mental illness in the County’s jail facilities by
   the Los Angeles Sheriff’s Department (the “Department” or “LASD”) and the County’s
   Correctional Health Services (“CHS”). It also reports on the Department’s compliance
   with the provisions of the Implementation Plan in the settlement of Alex Rosas, et al., v.
   Leroy Baca, No. CV 12-00428 DDP, that were extended under the terms of the DOJ
   Agreement to the facilities not covered by the Rosas case. 1 This Report covers the
   County’s reported results for the period from July 1, 2021, through December 31, 2021
   (the “Thirteenth Reporting Period”).
           This Thirteenth Report is based upon the Monitor’s review of the policies,
   procedures, and directives proposed and/or implemented by the Department and CHS in
   the Thirteenth Reporting Period, and assessments and observations of the Mental Health
   and Use of Force Subject Matter Experts, and mental health clinicians and auditors
   retained by the Monitor. It takes into consideration the County’s Self-Assessment Status
   Report (“Thirteenth Self-Assessment”); Correctional Health Services and Custody
   Compliance and Sustainability Bureau (“CCSB”) Combined Semi-Annual Report on
   Quality Improvement and Suicide Prevention Efforts – Quarter 2 & Quarter 3 2021; the
   County’s Augmented Self-Assessment Status Report (“Augmented Thirteenth Self-
   Assessment”); and results reported by the County through January 18, 2022.

           The Monitor conducted site visits to the jails with Use of Force Subject Matter
   Expert Susan McCampbell and clinician Dr. James Vess in December 2021. The
   Monitoring Team toured Twin Towers Correctional Facility (“TTCF”), Men’s Central
   Jail (“MCJ”), Century Regional Detention Facility (“CRDF”), Pitchess Detention Center
   North (“PDC North”), Inmate Reception Center (“IRC”), and North County Correctional
   Facility (“NCCF”). The Monitoring Team spoke with inmates, custody staff and
   supervisors, and mental health staff and supervisors during these visits, and inspected
   mental health housing at all patient acuity levels.

           The rise of the Omicron variant of the COVID-19 pandemic caused considerable
   disruption to the County’s Custody Operations during the Thirteenth Reporting Period.
   The Department was required to house a growing number of inmates in quarantine, which
   increased pressure on the Department’s housing capacity. The impacts of the pandemic
   on staff were also significant. As of January 21, 2022, 969 sworn and unsworn personnel
   were quarantined across the Department’s custody and patrol functions. According to the
   County, various custody and mental health personnel who work directly on compliance
   with the Agreement were quarantined during the Thirteenth Reporting Period.

   1
    The Rosas case involved allegations of excessive force in Men's Central Jail (MCJ), the Twin Towers
   Correctional Facility (TTCF), and the Inmate Reception Center (IRC) (collectively the “Downtown Jail
   Complex”). The DOJ Agreement extends provisions of the Implementation Plan to the Century Regional
   Detention Facility (CRDF), the North County Correctional Facility (NCCF), and the Pitchess Detention
   Center (PDC).


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          In the Twelfth Report, the Monitor noted that the County had made considerable
   progress at implementing the Agreement in the years 2015 through 2018. However

          Between 2019 and the filing of this Report . . . as reflected in the
          Monitor’s Seventh, Eighth, Ninth, Tenth, and Eleventh Reports, the
          County’s pace and progress at bringing provisions into Substantial
          Compliance slowed considerably. During these years, the County
          achieved Substantial Compliance with only six additional provisions,
          prompting expressions of concern from the DOJ and the Monitor.

           On November 5, 2021, the Court held a status conference to discuss the County’s
   progress at implementing the Agreement. In the subsequent days and weeks, the Parties
   collaborated with the Monitor on a schedule to create implementation plans that will
   move the County expeditiously towards Substantial Compliance with the remaining
   provisions of the Agreement. Under that schedule, twenty-one implementation plans are
   to be finalized on a rolling basis, with all to be adopted by May 15, 2022. The County
   has committed to beginning to enact these plans within the jails as soon as they are
   finalized, if not before.

           The Monitor expects that the execution of these plans will result in meaningful
   improvements in the County’s performance in future reporting periods. This Report
   reflects limited progress by the County. During the Thirteenth Reporting Period, the
   County achieved Substantial Compliance with five additional provisions. However, three
   provisions either fell out of Substantial Compliance or transitioned from Partial
   Compliance to Non-Compliance during the period. The County has maintained
   Substantial Compliance for twelve consecutive months with 36 out of the 69 provisions,
   which are now no longer subject to monitoring.

           A number of the Agreement’s remaining provisions relate to the quality and
   consistency of mental health care in the jails. In the Thirteenth Reporting Period, the
   County launched a Mental Health Training Department to “provide a structured
   orientation to all new employees and on-going training to the mental health staff.” The
   Training Department will be supervised by a psychologist and staffed by psychologists
   and social workers. It will aim to provide consistency and coaching to clinical staff in the
   jails. This is a proactive and commendable initiative by the County to address some of
   the deficiencies discussed throughout this Report.

          A final note: during the Thirteenth Reporting Period, the County and the
   Department cooperated fully with the Monitoring Team. The Department, CHS, and
   County Counsel facilitated our work, and responded transparently to our requests for
   documents and information. The Monitor appreciates their responsiveness,
   professionalism, and collegiality.

                                                        Nicholas E. Mitchell, Monitor
                                                        March 3, 2022


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                                        EXECUTIVE SUMMARY

            There are 69 provisions in the Settlement Agreement that are subject to
   monitoring by the Monitor and Subject Matter Experts. As of the date of this Report, the
   County and the Department are in Substantial Compliance with 42 provisions, in Partial
   Compliance with 14 provisions, and in Non-Compliance with six provisions. In addition,
   there are four provisions for which the Department is in Substantial Compliance at some
   facilities and in Partial Compliance at other facilities. There is one provision (Paragraph
   39) for which the Department is in Substantial Compliance at certain facilities, Partial
   Compliance at other facilities, and Not Rated at other facilities. There is one provision
   (Paragraph 63) for which the Department is in Partial Compliance at some facilities and
   Non-Compliance at other facilities. There is one provision (Paragraph 42) for which
   compliance is suspended. There are 47 provisions for which the County and the
   Department are in Substantial Compliance at some or all facilities. 2

           The Monitor’s determination of the County’s compliance is based upon the
   quantitative thresholds in the Compliance Measures (and any other applicable
   requirements in the Compliance Measures) for achieving Substantial Compliance, unless
   the quality of the County’s performance as determined by the qualitative assessment is
   plainly inadequate or the results reported by the Monitor’s mental health team vary
   significantly from the results reported by the Department. 3 As used herein, “Substantial
   Compliance” means that the County has “achieved compliance with the material
   components of the relevant provisions of this Agreement in accordance with the [agreed-
   upon Compliance Measures for assessing Substantial Compliance],” which it must
   maintain for twelve-consecutive months; “Partial Compliance” means that the County has
   achieved “compliance on some, but not all, of the material components of the relevant
   provision of this Agreement;” and “Non-Compliance” means that the County has not met
   “most or all of the material components of the relevant provisions of this Agreement.”

           Appendix A to this Thirteenth Report shows the status of each of the 69
   provisions of the Agreement that are subject to monitoring and the twelve-month
   triggering dates where the County is deemed to be in Substantial Compliance. Appendix
   B shows the County’s progress from the Initial Reporting Period through the Thirteenth

   2
     Under Paragraph 111 of the Agreement, the twelve-month period for which the County is required to
   maintain Substantial Compliance can be determined on a facility-by-facility basis.
   3
     As in prior reports, this Thirteenth Report also reflects the results of audits by the Monitor’s auditors to
   verify results reported by the County. The Monitor has deemed the County to be in Substantial
   Compliance “as of” the beginning of the quarter reported by the County if the auditors have verified that
   the County has met the thresholds in the Compliance Measures. If the auditors were not able to verify the
   results reported by the County, the twelve-month period for maintaining Substantial Compliance will
   commence in a future period when the County’s reported results are verified by the auditors. If the County
   maintains Substantial Compliance with a provision for twelve consecutive months, pursuant to Paragraph
   111 of the Agreement, the Monitor and Subject Matter Expert will “no longer. . .assess or report on that
   provision” in future reporting periods. Some of the Substantial Compliance results reported by the County
   in the Thirteenth Reporting Period have not been audited by the Monitor’s auditors and cannot be
   considered final until verified by the auditors. The County will not be deemed to be in Substantial
   Compliance as of the County’s reported date for purposes of determining the twelve-month compliance
   period if the results are not verified by the auditors.


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   Reporting Period in achieving Substantial Compliance and in maintaining Substantial
   Compliance for twelve consecutive months on provisions that are no longer subject to
   monitoring.

            There are 36 provisions that are no longer subject to monitoring because the
   County and Department maintained Substantial Compliance for twelve consecutive
   months as required by Paragraph 111 of the Settlement Agreement and verified by the
   Monitor’s auditors as required. 4 There are another six provisions for which some
   facilities are no longer subject to monitoring because those facilities maintained
   Substantial Compliance for the required twelve consecutive months. 5

           As of the date of this Report, and subject to verification by the Monitor’s auditors
   and qualitative assessments in some cases, the County and the Department are in
   Substantial Compliance at some or all of the facilities with the following provisions of
   the Settlement Agreement:

           The County has achieved Substantial Compliance with Paragraph 18, which
   requires the (initial) training of Deputy Sheriffs and Custody Assistants on suicide
   prevention as follows: at Men’s Central Jail (“MCJ”) and Pitchess Detention Center
   (“PDC”) South as of October 1, 2017; at North County Correctional Facility (“NCCF”)
   as of September 1, 2017; at PDC East as of December 1, 2017; at Twin Towers
   Correctional Facility (“TTCF”), the Inmate Reception Center (“IRC”), and PDC North as
   of April 1, 2018; and at Century Regional Detention Facility (“CRDF”) as of August 1,
   2018. The County has maintained compliance with the refresher training requirements
   under Provision 81 Rosas 4.6(b) and 4.7(b) as of December 2020.

           The County has achieved Substantial Compliance at NCCF, MCJ, and IRC as of
   April 1, 2018; at TTCF as of July 1, 2018; at CRDF, PDC East, and PDC North as of
   December 1, 2018; and at PDC South as of March 1, 2019, with Paragraph 19, which
   requires the (initial) training of Deputy Sheriffs on Crisis Intervention and Conflict
   Resolution and the training of Deputy Sheriffs and Custody Assistants in working with
   mentally ill prisoners. The Department has achieved Substantial Compliance at CRDF,
   IRC, NCCF, MCJ, PDC East, PDC North, PDC South, and TTCF as of December 2019
   with the refresher training requirements of Paragraph 19. The County has maintained
   compliance with the refresher training requirements under Provision 81 Rosas 4.6(b) and
   4.7(b) as of December 2020.

          The County has achieved Substantial Compliance at PDC East, PDC North,
   NCCF, and CRDF as of August 1, 2017 and at PDC South as of October 1, 2017, with
   Paragraph 20, which requires the (initial) training of additional Deputy Sheriffs on Crisis
   Intervention and Conflict Resolution and on working with mentally ill prisoners. The

   4
     This includes the initial training required by Paragraphs 18, 19 and 20, which has been completed and is
   no longer subject to monitoring. The refresher training requirements for each of these provisions are,
   however, still subject to monitoring under Provision 81 Rosas 4.6(b) and 4.7(b).
   5
     The provisions that are no longer subject to monitoring at some or all of the facilities are highlighted in
   bold in Appendix A.


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   County has maintained compliance with the refresher training requirements under
   Provision 81 Rosas 4.6(b) and 4.7(b) as of December 2020.

          The County has maintained Substantial Compliance for twelve consecutive
   months at PDC East, PDC South, PDC North, NCCF, IRC, TTCF, CRDF, and MCJ with
   Paragraph 21, which requires Custody personnel to maintain CPR certifications.

           The County has maintained Substantial Compliance for twelve consecutive
   months with Paragraph 22, which requires the County and the Sheriff to provide
   instructional material on the use of arresting and booking documents to ensure the
   sharing of known relevant and available information on prisoners’ mental health status
   and suicide risk.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of July 12, 2018, with Paragraph 23, which requires that the Department
   conduct a systematic review of prisoner housing to reduce the risk of self-harm and to
   identify and address suicide hazards, and to develop plans to reasonably mitigate suicide
   hazards identified in the review.

         The County has maintained Substantial Compliance for twelve consecutive
   months as of September 30, 2018, with Paragraph 24, which requires the Department to
   conduct annual reviews and inspections of prisoner housing to identify suicide hazards.

           The County has achieved Substantial Compliance as of July 1, 2021, through
   September 30, 2021, with Paragraph 26, which requires the that inmates identified at
   intake as having emergent or urgent heath needs be evaluated by a QMHP within 4 hours
   from the time of identification.

           The County has maintained Substantial Compliance for twelve months as of
   March 31, 2021, with Paragraph 27, which requires that all prisoners are individually and
   privately screened within 12 hours of their arrival at the jails.

          The County has maintained Substantial Compliance for twelve consecutive
   months at IRC as of March 31, 2018, with Paragraph 28, which requires the Department
   to expedite inmates having urgent or emergent mental health needs through the booking
   process. The County has achieved Substantial Compliance as of April 1, 2021, through
   September 30, 2021, at CRDF.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of March 31, 2018, with Paragraph 29, which requires mental health
   assessments of prisoners with non-emergent mental health needs within 24 hours of the
   intake nursing assessment.

            The County has maintained Substantial Compliance as of January 1, 2019,
   through December 31, 2019, with Paragraph 30, which requires the County to provide an
   initial mental health assessment that includes a brief initial treatment plan that addresses



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   “housing recommendations and preliminary discharge information.”

           The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 32, which requires that a serious
   suicide attempt be entered in the prisoner’s electronic medical record in a timely manner.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of June 30, 2017, with Paragraph 33, which requires mental health supervisors
   to review electronic medical records on a quarterly basis to assess their accuracy.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2018, with Paragraph 35, which requires the Department to
   ensure that custody staff refer prisoners who are demonstrating a potential need for
   routine mental health care to a QMHP or a Jail Mental Evaluation Team.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 38, which requires mental health staff
   or JMET teams to make weekly cell-by-cell rounds in restricted non-mental health
   housing modules to identify prisoners with mental illnesses and grant prisoner’s requests
   for out-of-cell interviews.

           The County has maintained Substantial Compliance at NCCF for twelve
   consecutive months as of June 30, 2018, with Paragraph 39, which requires the County to
   use a confidential self-referral system for prisoners to request mental health care. The
   County has achieved Substantial Compliance as of April 1, 2021, through September 30,
   2021, at PDC South.

           The County has provided documentation showing that it has achieved Substantial
   Compliance as of April 1, 2021, through September 30, 2021, with Paragraph 41, which
   requires the County to implement step-down protocols that provide a clinically
   appropriate transition when inmates are discharged from FIP after being the subject of
   suicide watch. The reported results are subject to verification by the Monitor’s auditors
   and Mental Health Subject Matter Experts.

          The County has maintained Substantial Compliance at NCCF and PDC North for
   twelve consecutive months, as of September 30, 2018, with Paragraph 43, which requires
   the Department to develop and implement policies for discipline of prisoners with serious
   mental illnesses.

            The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 44, which requires the Department to
   install protective barriers in High Observation Housing and other mental health housing.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 45, which requires Suicide Prevention
   Kits and first-aid kits in control booths in all facilities.



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           The County has achieved Substantial Compliance as of July 1, 2020, through
   December 31, 2020, with Paragraph 46, which requires the Department to interrupt, and
   if necessary, provide appropriate aid to any prisoner who threatens or exhibits self-
   injurious behavior. The County has provided documentation showing that it has
   maintained Substantial Compliance as of January 1, 2021, through June 30, 2021. These
   results are subject to verification by the Monitor’s auditors.

         The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 48, which requires the Department to
   have written housekeeping, sanitation, and inspection plans to ensure proper cleaning.

         The County has maintained Substantial Compliance for twelve consecutive
   months as of February 28, 2017, with Paragraph 49, which requires the Department to
   have maintenance plans to respond to routine and emergency maintenance needs.

         The County has maintained Substantial Compliance for twelve consecutive
   months as of March 31, 2017, with Paragraph 50, which requires pest control in the jails.

            The County has maintained Substantial Compliance for twelve consecutive
   months as of June 30, 2017, with Paragraph 51, which requires the Department to ensure
   that all prisoners have access to basic hygiene supplies in accordance with state
   regulations.

           The County has provided documentation showing that it has achieved Substantial
   Compliance as of July 1, 2021, through September 30, 2021, with Paragraph 53, which
   requires the Department to ensure that inmates are not rejected or disqualified from
   education and work programs based solely on their mental health diagnosis or
   prescription for medication alone. These results are subject to verification by the
   Monitor’s auditors.

          The County has maintained Substantial Compliance for twelve consecutive
   months at CRDF, PDC North, MCJ, and TTCF with Paragraph 55, which requires
   custody, medical and mental health staff to meet daily in High Observation Housing and
   weekly in Moderate Observation Housing.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 56, which requires custody, medical,
   and mental health staff to communicate regarding any change in a housing assignment
   following a suicide attempt or serious change in mental health condition.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of March 31, 2018, at MCJ with Paragraph 57, which requires safety checks in
   mental health housing. The County has provided documentation showing that it has
   achieved Substantial Compliance as of July 1, 2021, through September 30, 2021, at PDC
   North. These results are subject to verification by the Monitor’s auditors.



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           The County has maintained Substantial Compliance for twelve consecutive
    months at PDC South, PDC North, and PDC East as of December 31, 2016, at CRDF as
    of June 30, 2018, and at IRC as of September 30, 2018, with Paragraph 58, which
    requires safety checks in non-mental health housing. The County has achieved
    Substantial Compliance at NCCF as of April 1, 2021, through September 30, 2021.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2019, with Paragraph 59, which requires unannounced daily
    supervisory rounds to verify safety checks.

           The County has achieved Substantial Compliance with Paragraph 60, as of April
    1, 2019, through March 31, 2020, which requires the implementation of a quality
    improvement plan.

           The County has maintained Substantial Compliance for twelve consecutive
    months at MCJ, NCCF, PDC East, PDC North, PDC South, and TTCF with Paragraph
    68, which requires staggered contraband searches in housing units.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2019, with Paragraph 69, which requires the County and the
    Sheriff to use clinical restraints only in the Correctional Treatment Center with the
    approval of a licensed psychiatrist who performed an individualized assessment.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2017, with Paragraph 71, which requires the County and the
    Sheriff to ensure that any prisoner subjected to clinical restraints in response to a mental
    health crisis receives therapeutic services to remediate any effects from the restraints.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 72, which requires the Department and
    the County to report on meetings to review suicides and incidents of serious self-injurious
    behavior.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of September 30, 2018, with Paragraph 73, which requires the Department to
    prepare detailed reports of prisoners who threaten or exhibit self-injurious behavior.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 74, which requires the Department to
    have an objective law enforcement investigation of every suicide that occurs in the jails.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of September 30, 2018, with Paragraph 75, which requires the Department and
    the County to review every serious suicide attempt that occurs in the jails.




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           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 76, which requires the Department to
    follow certain procedures whenever there is an apparent or suspected suicide.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of May 18, 2017, with Paragraph 78, which requires the Suicide Prevention
    Advisory Committee to meet twice a year.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 82, which requires the Department to
    co-locate personnel responsible for collecting prisoners’ grievances at CRDF.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2019, with Paragraph 83, which requires it to install closed circuit
    security cameras throughout all of the common areas in the jails.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2018, with Paragraph 84, which requires investigations of force
    incidents and administrative actions to be completed timely.

            The County has achieved Substantial Compliance as of April 1, 2021, through
    September 30, 2021, with Paragraph 85, which requires Internal Affairs Bureau personnel
    to receive adequate specialized training in conducting investigations of misconduct.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2019, with Paragraph 86, which requires inventory and control of
    weapons.




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                                         THIRTEENTH REPORT

            18.     Within three months of the Effective Date, the County and the Sheriff will
    develop, and within six months of the Effective Date will commence providing: (1) a
    four-hour custody-specific, scenario-based, skill development training on suicide
    prevention, which can be part of the eight-hour training described in paragraph 4.8 of the
    Implementation Plan in Rosas to all new Deputies as part of the Jail Operations
    Continuum and to all new Custody Assistants at the Custody Assistants academy; and (2)
    a two-hour custody-specific, scenario-based, skill development training on suicide
    prevention to all existing Deputies and Custody Assistants at their respective facilities,
    which can be part of the eight-hour training described in paragraph 4.7 of the
    Implementation Plan in Rosas, through in-service Intensified Formatted Training, which
    training will be completed by December 31, 2016.

           These trainings will include the following topics:

           (a)     suicide prevention policies and procedures, including observation and
                   supervision of prisoners at risk for suicide or self-injurious behavior;

           (b)     discussion of facility environments and staff interactions and why they
                   may contribute to suicidal behavior;

           (c)     potential predisposing factors to suicide;

           (d)     high-risk suicide periods and settings;

           (e)     warning signs and symptoms of suicidal behavior;

           (f)     case studies of recent suicides and serious suicide attempts;

           (g)     emergency notification procedures;

           (h)     mock demonstrations regarding the proper response to a suicide attempt,
                   including a hands-on simulation experience that incorporates the
                   challenges that often accompany a jail suicide, such as cell doors being
                   blocked by a hanging body and delays in securing back-up assistance;

           (i)     differentiating between suicidal and self-injurious behavior; and

           (j)     the proper use of emergency equipment.




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           STATUS (18):           SUBSTANTIAL COMPLIANCE (as of October 1, 2017
                                  (verified) at MCJ and PDC South)

                                  SUBSTANTIAL COMPLIANCE (as of
                                  September 1, 2017 (verified) at NCCF)

                                  SUBSTANTIAL COMPLIANCE (as of
                                  December 1, 2017 (verified) at PDC East)

                                  SUBSTANTIAL COMPLIANCE (as of April 1, 2018
                                  (verified) at TTCF, IRC, and PDC North)

                                  SUBSTANTIAL COMPLIANCE (as of August 1, 2018
                                  (verified) at CRDF)

            The Department was not subject to monitoring during the Thirteenth Reporting
    Period for the initial training of existing Deputy Sheriffs or Custody Assistants or of new
    Deputies in the Jail Operations Continuum and new Custody Assistants in the Custody
    Assistant Academy as required by Paragraph 18. Virtually all of the Deputy Sheriffs and
    Custody Assistants in the custody facilities received the initial training because they were
    assigned to the jails as of the Existing Date of the Settlement Agreement or they received
    the training as new Deputies or new Custody Assistants.

           The Department is still subject to monitoring in future periods for Substantial
    Compliance with the refresher course requirements under Provision 81 Rosas 4.6(b) and
    4.7(b). The County has maintained compliance with the refresher training requirements
    under Provision 81 Rosas 4.6(b) and 4.7(b) as of December 2020.




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         19.   Commencing July 1, 2015, the County and the Sheriff will provide:

         (a)   Custody-specific, scenario-based, skill development training to new
               Deputies during their Jail Operations training, and to existing Deputies
               assigned to Twin Towers Correctional Facility, Inmate Reception Center,
               Men’s Central Jail, the Mental Health Housing Units at Century Regional
               Detention Facility, and the Jail Mental Evaluation Teams (“JMET”) at
               North County Correctional Facility as follows:

               (i)    32 hours of Crisis Intervention and Conflict Resolution as
                      described in paragraphs 4.6 and 4.9 of the Implementation Plan in
                      Rosas to be completed within the time frames established in that
                      case (currently December 31, 2016). Deputies at these facilities
                      will receive an eight-hour refresher course consistent with
                      paragraph 4.6 of the Implementation Plan in Rosas every other
                      year until termination of court jurisdiction in that case and then a
                      four-hour refresher course every other year thereafter.

               (ii)   Eight hours identifying and working with mentally ill prisoners as
                      described in paragraph 4.7 of the Implementation Plan in Rosas to
                      be completed by December 31, 2016. This training requirement
                      may be a part of the 32-hour training described in the previous
                      subsection. Deputies at these facilities will receive a four-hour
                      refresher course consistent with paragraph 4.7 of the
                      Implementation Plan in Rosas every other year thereafter.

         (b)   Commencing July 1, 2015, the County and the Sheriff will ensure that new
               Custody Assistants receive eight hours of training in the Custody Assistant
               academy, and that all existing Custody Assistants receive eight hours of
               training related to identifying and working with mentally ill prisoners as
               described in paragraph 4.7 of the Implementation Plan in Rosas. This
               training will be completed by December 31, 2016. Custody Assistants
               will receive a four-hour refresher course consistent with paragraph 4.7 of
               the Implementation Plan in Rosas every other year thereafter.




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           STATUS (19):          SUBSTANTIAL COMPLIANCE (as of April 1, 2018,
                                 (verified) at NCCF, MCJ, and IRC)

                                 SUBSTANTIAL COMPLIANCE (as of July 1, 2018,
                                 (verified) at TTCF)

                                 SUBSTANTIAL COMPLIANCE (as of December 1,
                                 2018 (verified) at CRDF, PDC East, and PDC North)

                                 SUBSTANTIAL COMPLIANCE (as of March 1,
                                 2019 (verified) at PDC South)

           The Department was not subject to monitoring during the Thirteenth Reporting
    Period for the training of existing and new Deputy Sheriffs and Custody Assistants
    required by Paragraph 19.

           The Department is still subject to monitoring in future periods for Substantial
    Compliance with the refresher course requirements under Provision 81 Rosas 4.6(b) and
    4.7(b). The County has maintained compliance with the refresher training requirements
    under Provision 81 Rosas 4.6(b) and 4.7(b) as of December 2020.




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         20.   Commencing no later than July 1, 2017, the County and the Sheriff will
               provide:

         (a)   Custody-specific, scenario-based, skill development training to existing
               Deputies assigned to North County Correctional Facility, Pitchess
               Detention Center, and the non-Mental Health Housing Units in Century
               Regional Detention Facility as follows:

               (i)    32 hours of Crisis Intervention and Conflict Resolution as
                      described in paragraphs 4.6 and 4.9 of the Implementation Plan in
                      Rosas to be completed by December 31, 2019. Deputies at these
                      facilities will receive an eight-hour refresher course consistent with
                      paragraph 4.6 of the Implementation Plan in Rosas every other
                      year until termination of court jurisdiction in that case and then a
                      four-hour refresher course every other year thereafter.

               (ii)   Eight hours identifying and working with mentally ill prisoners as
                      described in paragraph 4.7 of the Implementation Plan in Rosas to
                      be completed by December 31, 2019. This training requirement
                      may be a part of the 32-hour training described in the previous
                      subsection. Deputies at these facilities will receive a four-hour
                      refresher course consistent with paragraph 4.7 of the
                      Implementation Plan in Rosas every other year thereafter.




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           STATUS (20):           SUBSTANTIAL COMPLIANCE (as of August 1,
                                  2017 (verified) at CRDF, PDC East, PDC North, and
                                  NCCF)

                                  SUBSTANTIAL COMPLIANCE (as of October 1,
                                  2017 (verified) at PDC South)

           The Department was not subject to monitoring for the initial training for existing
    Deputies as required by Paragraph 20 during the Thirteenth Reporting Period.

            The Department is still subject to monitoring in future periods for Substantial
    Compliance with the refresher course requirements under Provision 81 Rosas 4.6(b) and
    4.7(b). The County has posted results for maintained compliance with the refresher
    training requirements under Provision 81 Rosas 4.6(b) and 4.7(b) reflecting that it has
    maintained compliance as of December 2020.




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           21.      Consistent with existing Sheriff’s Department policies regarding training
    requirements for sworn personnel, the County and the Sheriff will ensure that existing
    custody staff that have contact with prisoners maintain active certification in
    cardiopulmonary resuscitation and first aid.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                          through September 30, 2016 (verified) at PDC East and South)

                          SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) at NCCF, PDC North,
                          and IRC)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                          March 31, 2017 (verified) at TTCF)

                          SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018 (verified) at MCJ)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2018, through
                          June 30, 2019 (verified) at CRDF)

            The Compliance Measures provide that the Department will demonstrate
    Substantial Compliance when 95% of the designated custody staff have the required CPR
    and first aid certifications for twelve consecutive months.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 21 in the Thirteenth
    Reporting Period.




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           22.     Within six months of the Effective Date and at least annually thereafter,
    the County and the Sheriff will provide instructional material to all Sheriff station
    personnel, Sheriff court personnel, custody booking personnel, and outside law
    enforcement agencies on the use of arresting and booking documents, including the
    Arrestee Medical Screening Form, to ensure the sharing of known relevant and available
    information on prisoners’ mental health status and suicide risk. Such instructional
    material will be in addition to the training provided to all custody booking personnel
    regarding intake.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                          June 30, 2017)

            The Justice Data Interface Controller (“JDIC”) message the Department has been
    using since June 29, 2016, is sufficient to establish Substantial Compliance with
    Paragraph 22, and the County maintained Substantial Compliance for twelve consecutive
    months through June 30, 2017. Pursuant to Paragraph 111 of the Settlement Agreement,
    the Department was not subject to monitoring for Substantial Compliance with Paragraph
    22 in the Thirteenth Reporting Period.




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            23.     Within three months of the Effective Date, the County and the Sheriff will
    commence a systematic review of all prisoner housing, beginning with the Mental Health
    Unit of the Correctional Treatment Center, all High Observation Housing areas, all
    Moderate Observation Housing areas, single-person discipline, and areas in which safety
    precautions are implemented, to reduce the risk of self-harm and to identify and address
    suicide hazards. The County and the Sheriff will utilize a nationally-recognized audit
    tool for the review. From this tool, the County and the Sheriff will:

           (a)     develop short and long term plans to reasonably mitigate suicide hazards
                   identified by this review; and

           (b)     prioritize planning and mitigation in areas where suicide precautions are
                   implemented and seek reasonable mitigation efforts in those areas.

           STATUS:        SUBSTANTIAL COMPLIANCE

            The Monitor has verified, with the advice of the Subject Matter Expert, that the
    Department’s Suicide Hazard Inspection Check List tool is a nationally recognized audit
    tool for this review. The Department provided the Monitor with completed checklists
    documenting inspections of all housing units by January 14, 2016.

            The Department submitted updated Suicide Hazard Mitigation plans to the
    Monitor on January 18, 2018 and July 12, 2018. After consultations with the Mental
    Health Subject Matter Expert, the Monitor concluded that the plans satisfied the
    requirements of Paragraph 23 and that the Department had achieved and maintained
    Substantial Compliance with the provision. Accordingly, pursuant to Paragraph 111 of
    the Settlement Agreement, the Department was not subject to monitoring for Substantial
    Compliance with Paragraph 23 in the Thirteenth Reporting Period.




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            24.    The County and the Sheriff will review and inspect housing areas on at
    least an annual basis to identify suicide hazards.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018)

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 24 in the Thirteenth
    Reporting Period. As the Monitor has noted, however, implementation and tracking of
    corrective actions must be addressed by the Custody Compliance and Sustainability
    Bureau (“CCSB”) under Paragraph 77(c), which requires CCSB to “ensur[e] that
    corrective actions are taken to mitigate suicide risk. . .obtaining where appropriate,
    technical assistance. . .when such assistance is needed to address suicide-risk issues.”




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            25.    The County and the Sheriff will ensure that any prisoner in a Sheriff’s
    Department station jail who verbalizes or who exhibits a clear and obvious indication of
    current suicidal intent will be transported to IRC, CRDF, or a medical facility as soon as
    practicable. Pending transport, such prisoners will be under unobstructed visual
    observation, or in a suicide resistant location with safety checks every 15 minutes.

           STATUS:        PARTIAL COMPLIANCE (at Central, East, South, and North
                          Patrol Divisions)

            A provision of the Station Jail Manual adopted in March 2018 requires that any
    arrestee who “displays obvious suicidal ideation or exhibits unusual behavior that clearly
    manifest[s] self-injurious behavior or other clear indication of mental health crisis shall
    be transported to the Inmate Reception Center (IRC), Century Regional Detention
    Facility (CRDF), or a medical facility as soon as practicable. Pending transport, such
    inmates. . .shall be under unobstructed visual observation or in a suicidal restraint
    location with safety checks every 15 minutes.”

            Under the revised Compliance Measures, which were updated in 2021, the
    Department must randomly select and analyze Arrestee Medical Screening Forms from
    station jails identifying prisoners who verbalize or exhibit a clear and obvious indication
    of current suicidal intent to determine compliance with Paragraph 25. Substantial
    Compliance requires that 90% of the selected records from each Patrol Division meet the
    requirements of Paragraph 25. Each Patrol Division can achieve sustained compliance
    after twelve consecutive months of Substantial Compliance independent of the other
    divisions.

             The County’s Augmented Thirteenth Self-Assessment reports that 100% of the
    records from the East Patrol Division reviewed for the Second Quarter of 2021 and 60%
    of the records reviewed for the Third Quarter of 2021 reflect the information required by
    Paragraph 25. For the North Patrol Division, 100% of the records reviewed for the
    Second Quarter of 2021 and 77% of the records reviewed for the Third Quarter of 2021
    reflect the information required by Paragraph 25.

            For the Central Patrol Division, 66% of the records reviewed for the Second
    Quarter of 2021 and 50% of the records reviewed for the Third Quarter of 2021 reflect
    the information required by Paragraph 25. For the South Patrol Division 50% of the
    records reviewed for the Second Quarter of 2021, and 66% of the records reviewed for
    the Third Quarter of 2021 reflect the information required by Paragraph 25.

           In December 2021, the Monitor toured and inspected Palmdale Station (in the
    North Patrol Division), which was the site of two relatively recent inmate suicides.
    According to posted documents, the records from Palmdale Station were 100% compliant
    with the requirements of Paragraph 25 in both the Second and Third Quarters of 2021.
    However, based upon the facts of these two inmate suicides, the Monitor had concerns
    about whether inmates with expressed suicidal ideation were being transported to IRC,
    CRDF, or a medical facility as soon as practicable, and maintained in suicide resistant



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    locations or under unobstructed visual observation pending such transport. Following the
    Monitor’s inspection, the Department removed ligature points that had been used in both
    recent suicides from two of the cells at Palmdale Station in order to make the cells more
    suicide resistant. The County should inspect station jail cells in the Department’s other
    patrol stations to ensure that these ligature points, which are a known suicide risk, are
    addressed Department-wide.




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             26.    Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will follow established screening procedures to identify prisoners with emergent
    or urgent mental health needs based upon information contained in the Arrestee Medical
    Screening Form (SH-R-422) or its equivalent and the Medical/Mental Health Screening
    Questionnaire and to expedite such prisoners for mental health evaluation upon arrival at
    the Jail Reception Centers and prior to routine screening. Prisoners who are identified as
    having emergent or urgent mental health needs, including the need for emergent
    psychotropic medication, will be evaluated by a QMHP as soon as possible but no later
    than four hours from the time of identification.

            STATUS:           SUBSTANTIAL COMPLIANCE (as of July 1, 2021, through
                              September 30, 2021)

            The Compliance Measures require the Department to “review Arrestee Medical
    Screening Forms (SH-R-422) (or its equivalent) and the Medical/Mental Health
    Screening Questionnaires of 100 randomly selected prisoners during one randomly
    selected week per quarter at CRDF and at IRC.” Substantial Compliance requires that (1)
    95% of the forms “include the required mental health information” and (2) 90% of the
    prisoners having urgent or emergent needs were “seen by a QMHP within four hours.”

            The County’s Thirteenth Self-Assessment reports that for the one randomly
    selected week in the Second Quarter of 2021, 93% of the screening forms reviewed had
    the required mental health information, and 84% of the prisoners with urgent or emergent
    mental health needs were seen by a QMHP within four hours. These are less than the
    thresholds set for Substantial Compliance. The County’s Thirteenth Self-Assessment
    also reports that for the one randomly selected week in the Third Quarter of 2021, 98% of
    the screening forms reviewed had the required mental health information, and 95% of the
    prisoners with urgent or emergent mental health needs were seen by a QMHP within four
    hours, which both exceeded the threshold for Substantial Compliance.

            In November 2021, Drs. Johnson, Vess, and Eargle conducted a qualitative
    review of the County’s compliance with Provision 26. They assessed the completeness
    of intake documentation and sought to “determine whether patients with emergent or
    urgent needs were missed at intake” by examining the intake records and other associated
    documents. They found that in 95% of cases, the intake documentation was complete
    and available. 6 They also found that in 67% of the cases sampled it was “highly likely
    that the condition leading to subsequent HOH or FIP placement was present at the time of
    the intake screening.” In 19% of cases, “an urgent or emergent condition was likely
    present at the time of the intake screening that should have been detected during a
    standard intake process” but it was not detected. These results were generally consistent
    with prior qualitative findings.

    6
      While this number was very high overall, one case reviewed during the period, involving a person who
    sustained a gunshot during an apparent attempt to commit “suicide by cop” was cause for concern. In that
    case, no information about the apparent “suicide by cop” was available during booking, thus no mental
    health evaluation was conducted in IRC despite the patient’s history of mental illness and drug addiction.
    However, the case appears to be anomalous based upon the other records reviewed during the period.


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            27.     Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will ensure that all prisoners are individually and privately screened by Qualified
    Medical Staff or trained custody personnel as soon as possible upon arrival to the Jails,
    but no later than 12 hours, barring an extraordinary circumstance, to identify a prisoner’s
    need for mental health care and risk for suicide or self-injurious behavior. The County
    and the Sheriff will ensure that the Medical/Mental Health Screening Questionnaire, the
    Arrestee Medical Screening Form (SH-R-422), or its equivalent, and/or the Confidential
    Medical Mental Health Transfer Form are in the prisoner’s electronic medical record or
    otherwise available at the time the prisoner is initially assessed by a QMHP.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2019,
                          through March 31, 2020, and October 1, 2020 through March
                          31, 2021 (verified))

            The Compliance Measures require the Department to review the records of
    “randomly selected prisoners who were processed for intake during one randomly
    selected week at CRDF and at IRC” to determine compliance with this provision.
    Substantial Compliance requires that 90% of the records reviewed reflected that the
    prisoners were screened for mental health needs within 12 hours and that the required
    documentation was available to the QMHP for 90% of the mental health assessments
    conducted by the QMHP.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 27 in the Thirteenth
    Reporting Period.




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            28.     The County and the Sheriff will ensure that any prisoner who has been
    identified during the intake process as having emergent or urgent mental health needs as
    described in Paragraph 26 of this Agreement will be expedited through the booking
    process. While the prisoner awaits evaluation, the County and the Sheriff will maintain
    unobstructed visual observation of the prisoner when necessary to protect his or her
    safety, and will conduct 15-minute safety checks if the prisoner is in a cell.

            STATUS:           SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                              March 31, 2018 (verified) at IRC)

                              SUBSTANTIAL COMPLIANCE (as of April 1, 2021, through
                              September 30, 2021 (verified) at CRDF)

            The Compliance Measures require the Department to review the records of
    randomly selected prisoners at CRDF and IRC who have urgent or emergent mental
    health needs to determine whether they were expedited through the booking process and
    under visual observation or checked every 15 minutes.

            The County’s Thirteenth Self-Assessment reflects that in the Second Quarter of
    2021, 100% of the inmates with urgent or emergent mental health needs were expedited
    through the booking process at CRDF in the randomly selected week, as required by the
    applicable Compliance Measures, and 100% of the inmates were observed or checked as
    is required. The County’s Thirteenth Self-Assessment also reported that in the Third
    Quarter of 2021, 100% of the inmates with urgent or emergent mental health needs were
    expedited through the booking process at CRDF in the randomly selected week, and
    100% of the inmates were observed or checked, as is required. 7 These results have been
    verified by the Monitor’s auditors.

           The County previously maintained Substantial Compliance with Paragraph 28 at
    IRC for twelve consecutive months, and IRC was not subject to monitoring for
    Substantial Compliance with Paragraph 28 in the Thirteenth Reporting Period.




    7
      There were only five relevant inmates in the random weeks selected in the Second and Third Quarters of
    2021, which is smaller than the sample size contemplated by the relevant Compliance Measure (“for one
    randomly selected week each quarter, the Department will review the records of 25 randomly selected
    prisoners at CRDF”). The Monitor finds that the County achieved Substantial Compliance for the Second
    and Third Quarters of 2021 on the basis of its reported results, which are subject to verification by the
    Monitor’s auditors. However, if the random weeks selected during the Fourteenth Monitoring Period do
    not contain 25 relevant inmates, the County should add additional random weeks until a population of 25
    inmates can be measured per quarter.


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            29.    The County and the Sheriff will ensure that a QMHP conducts a mental
    health assessment of prisoners who have non-emergent mental health needs within 24
    hours (or within 72 hours on weekends and legal holidays) of a registered nurse
    conducting an intake nursing assessment at IRC or CRDF.

           STATUS:       SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                         March 31, 2018 (verified))

           The Compliance Measures require the Department to review randomly selected
    records of the prisoners identified in the intake nursing assessment as having non-
    emergent mental health needs to determine if the Department completed mental health
    assessments for 85% of the prisoners within the required time periods.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 29 in the Thirteenth
    Reporting Period.




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             30.     Consistent with existing DMH policies, the initial mental health
    assessment will include a brief initial treatment plan. The initial treatment plan will
    address housing recommendations and preliminary discharge information. During the
    initial assessment, a referral will be made for a more comprehensive mental health
    assessment if clinically indicated. The initial assessment will identify any immediate
    issues and determine whether a more comprehensive mental health evaluation is
    indicated. The Monitor and SMEs will monitor whether the housing recommendations in
    the initial treatment plan have been followed.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2019,
                          through December 31, 2019 (verified))

             The Compliance Measures require the Department to review randomly selected
    initial mental health assessments and report on (1) the percentage of assessments that
    have (i) included an initial treatment plan that addresses housing recommendations and
    preliminary discharge information and (ii) identified any immediate issues and whether a
    more comprehensive evaluation was indicated; and (2) whether the housing
    recommendations were followed.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 30 in the Thirteenth
    Reporting Period.




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             31 (Revised). Consistent with existing Correctional Health Services and Sheriff’s
    Department policies, the County and the Sheriff will maintain electronic mental health
    alerts in prisoners’ electronic medical records that notify medical and mental health staff
    of a prisoner’s risk for suicide or self-injurious behavior. The alerts will be for the
    following risk factors:

             (a)      current suicide risk; and

             (b)      prior suicide attempts.

             STATUS:           PARTIAL COMPLIANCE

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 31 (“Revised Paragraph 31”) as set
    forth above. They also agreed on Revised Compliance Measures. The Revised
    Compliance Measures require the Department to review randomly selected electronic
    medical records for prisoners in certain at-risk groups to determine if the required mental
    health alerts are in 85% of the records reviewed, which is the threshold for Substantial
    Compliance, for prisoners who report suicidal thoughts (at suicide risk) during the intake
    process; or were removed from risk precautions in the prior quarter.

            The County’s Thirteenth Self-Assessment reports that for the Second Quarter of
    2021, at CRDF, 96% of the records reviewed contained the mental health alerts required
    by 31-1(a). 100% of the records for the five patients removed from risk precaution
    contained the mental health alerts required by 31-1(b). At TTCF, 100% of the records
    reviewed contained the mental health alerts required by 31-1(a). The records of the
    single patient removed from risk precautions did not contain the required alert. 8

             The County’s Augmented Thirteenth Self-Assessment reports that for the Third
    Quarter of 2021, at CRDF, 96% of the records reviewed contained the mental health
    alerts required by 31-1(a). The single patient removed from risk precaution contained the
    mental health alerts required by 31-1(b). At TTCF, 100% of the records reviewed
    contained the mental health alerts required by 31-1(a). There were no patients removed
    from risk precaution and thus no records to review in connection with 31-1(b).

          As in the past, the County did not report any results for current suicide risk or
    removal from risk precautions for the inmates at MCJ, NCCF, or PDC North because
    Compliance Measures 31-1(a) and 31-1(b) refer to the intake and HOH populations

    8
      As the Monitor wrote in the Twelfth Report, the County “substantially revised its process for use of risk
    precautions in the years after the Agreement was executed.” Given those changes, there was a need for an
    “an alternative approach to sampling the patient population in light of CHS’ changed practices on this
    issue.” In a Joint Status Report filed on December 15, 2021, the Parties reported that “the County and the
    United States are currently engaged in discussions regarding potential changes to the universe of source
    documents used to assess compliance with provision 31.” Further, “the County and the United States will
    complete discussions regarding changes to the source document universe for provision 31 by January 10,
    2022.” As of the time of this filing, the Parties have agreed on those changes and the County will provide
    an updated self-assessment for Provision 31 using the new methodology by March 15, 2022.


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    respectively. 9




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      The County has previously reported that “inmates at [MCJ, NCCF and PDC North] are not on risk
    precaution, nor can they be removed from risk precaution. Instead, all decisions about risk precaution
    including their discontinuation are made at TTCF. . .. Similarly, CHS reports these facilities do not house
    inmates who are a current suicide risk.”


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           32.      Information regarding a serious suicide attempt will be entered in the
    prisoner’s electronic medical record in a timely manner.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified))

            The Compliance Measures require that 95% of the electronic medical records of
    prisoners who had a serious suicide attempt reflect information regarding the attempt, and
    85% of the records reflect that the information was entered into the record within one day
    of the attempt.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 32 in the Thirteenth
    Reporting Period.




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            33.   The County will require mental health supervisors in the Jails to review
    electronic medical records on a quarterly basis to assess their accuracy as follows:

           (a)    Supervisors will randomly select two prisoners from each clinician’s
                  caseload in the prior quarter;

           (b)    Supervisors will compare records for those prisoners to corroborate
                  clinician attendance, units of service, and any unusual trends, including
                  appropriate time spent with prisoners, recording more units of service than
                  hours worked, and to determine whether contacts with those prisoners are
                  inconsistent with their clinical needs;

           (c)    Where supervisors identify discrepancies through these reviews, they will
                  conduct a more thorough review using a DMH-developed standardized
                  tool and will consider detailed information contained in the electronic
                  medical record and progress notes; and

           (d)    Serious concerns remaining after the secondary review will be elevated for
                  administrative action in consultation with DMH’s centralized Human
                  Resources.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                          June 30, 2017 (verified))

            The Compliance Measures require the County to provide the Monitor and the
    Subject Matter Experts with the DMH-developed standardized tool required by Paragraph
    33(c), and to report the results of its analysis of the electronic medical records of two
    randomly selected prisoners from each clinician’s caseload.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 33 in the Thirteenth
    Reporting Period.




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            34 (Revised). Consistent with existing Correctional Health Services policy, the
    County and the Sheriff will conduct clinically appropriate release planning for all
    prisoners who are being released to the community and who have been identified by a
    QMHP as having a mental illness and needing mental health treatment, or as having a
    DSM-5 major neuro-cognitive disorder that caused them to be housed in the Correctional
    Treatment Center at any time during their current incarceration. For prisoners with
    mental illness and needing mental health treatment, the release planning services will be
    guided by the prisoner’s level of care. Specifically, prisoners who at any time during
    their incarceration meet mental health level of P3 or P4 will be presumptively referred for
    release planning services, and prisoners who meet mental health level of care P2 will
    receive release planning services upon referral by a clinician or upon their request.
    Prisoners who have a DSM-5 major neuro-cognitive disorder that caused them to be
    housed in the Correctional Treatment Center will also be referred for release planning
    services consistent with the Correctional Health Services policy applying to prisoners
    with mental illness.

           (a) Release planning will consider the need of the prisoner for housing;
           transportation to the prisoner’s community-based provider, residence, or shelter
           within the County; bridge psychotropic medications; medical/mental
           health/substance abuse services; income/benefits establishment; and
           family/community/social supports (“Release Planning Areas”).

           (b) Release planning will be based on an individualized assessment of the
           prisoner’s needs and, unless the prisoner is unable or unwilling to participate, will
           be undertaken in collaboration with the prisoner. For prisoners referred for
           release planning services, those services will include:

                   (i) An Initial Release Plan that will be created at intake or no later than ten
                   days after the referral for release planning, which referral shall normally
                   occur at the time of intake. The Initial Release Plan will include
                   preliminary identification of needs in each of the Release Planning Areas
                   and preliminary recommendations for services to address those needs, and
                   a referral for assistance in obtaining California identification when needed
                   and when the prisoner is eligible; and/or

                   (ii) A Comprehensive Release Plan that will be initiated no later than
                   thirty days after the referral for release planning. The Comprehensive
                   Release Plan will include (A) collecting information regarding the
                   prisoner’s needs; (B) coordinating with community-based providers to
                   identify available services that meet the prisoner’s needs; (C) facilitating
                   the transition of care to community-based providers, and (D) assisting in
                   obtaining identification and/or benefits when needed, when the prisoner is
                   eligible, and as offered by the Sheriff’s Community Transition Unit.

           (c) The County will maintain a re-entry resource center with staff supervised by a
           QMHP. The re-entry resource center will:



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                (i) Provide information appropriate to the released prisoner about available
                housing, transportation, medical/mental health/substance abuse services,
                income/benefits establishment, community/social supports, and other
                community resources; and

                (ii) Provide released prisoners with copies of their release plans, as
                available.

         (d) All prisoners who are receiving and continue to require psychotropic
         medications will be offered a clinically appropriate supply of those medications
         upon their release from incarceration. Unless contraindicated, this will be
         presumed to be a 14-day supply or a supply with a prescription sufficient so that
         the prisoner has the psychotropic medication available during the period of time
         reasonably necessary to permit the prisoner to consult with a doctor and obtain a
         new supply.

         (e) Nothing in Paragraph 34 will require prisoners to accept or participate in any
         of the services provided under this Paragraph.

         (f) Neither the County nor the Sheriff shall be in violation of this paragraph if
         after reasonable efforts as set forth in Correctional Health Services Policy
         M380.01, Release Planners are unable to identify available post-release services.




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           STATUS (34):          NON-COMPLIANCE

           During the Seventh Reporting Period, the parties and the Intervenors reached an
    agreement on the provisions of revised Paragraph 34 (“Revised Paragraph 34”) set forth
    above. They also agreed on revised Compliance Measures and a revised policy to
    implement Revised Paragraph 34. On December 10, 2018, the Court issued an order
    pursuant to the parties’ joint stipulation revising Paragraph 34.

           The County’s Augmented Thirteenth Self-Assessment reports that, as required by
    Compliance Measure 34-10, the Department’s Compliance Team made six visits in the
    Second and Third Quarters of 2021 to CRRC to confirm the presence of staff
    representing the Health Agency, Probation, and Sheriff’s Departments. The County
    concluded that it achieved 100% compliance with all departments being present at each
    visit.

            Compliance Measures 34-1 and 2 require the County to review on a quarterly
    basis “randomly selected records of 85 prisoners released in a randomly selected week”
    who had been identified as having a need for mental health care to determine if the
    requirements of the County’s Release Planning Policy were satisfied and state for each
    prisoner who did not receive a Comprehensive Release Plan why a plan was not
    completed, whether repeated efforts were made to offer the prisoner comprehensive
    release planning, and whether an Initial Release Plan was completed. Compliance
    Measure 34-13(c) sets forth the relevant thresholds for Compliance Measure 34-1.

            The County’s Augmented Self-Assessment for the Second Quarter of 2021
    reports that regarding Compliance Measure 13(c)(1), 96% of inmates received a referral
    for release planning, rather than the required 85%. The County’s posted results for the
    Third Quarter of 2021 reflect that 93% of inmates received the required referral.

           For Compliance Measure 34-13(c)(4), which requires certain services and
    documentation relating to inmates requiring psychotropic medications, the County’s
    Thirteenth Self-Assessment reflects 93% compliance during the Second Quarter of 2021.
    The County’s posted results for the Third Quarter of 2021 reflect 95% compliance.

            Compliance Measure 34-12 requires the County to “review randomly selected
    records of 50 prisoners released in a randomly selected week who had been identified by
    a QMHP as meeting a mental health level of care P2” and evaluate “whether the QMHP
    considered the factors in the Release Planning Policy when determining whether to refer
    the prisoner.” The County’s posted results reported that 92% of the mental health records
    included the required criteria during the relevant assessment weeks.

            Certain results for Provision 34 have not materially improved and remain far
    below the thresholds for Substantial Compliance. Given the complexities of developing
    an effective release planning program, and the County’s good-faith efforts, the Monitor
    provided the County with notice of his concerns about these results and opportunities to
    address them. In the Tenth Report, the Eleventh Report, and the Twelfth Report—over a



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    year-and-a-half period—the Monitor alerted the County that the results for Provision 34
    must improve for the County to retain a rating of Partial Compliance. Most recently, for
    example, in the Twelfth Report, the Monitor said

            the Monitor believes that the County has demonstrated sufficient progress
            to keep its rating of Partial Compliance with Provision 34 for the Twelfth
            Reporting Period. However, the County must demonstrate improved
            results under Compliance Measures 34-13(c)(2) and 34-13(c)(3) or
            Provision 34 may be rated as Non-Compliant in future reporting periods.

            Unfortunately, the results did not substantially improve in the Thirteenth
    Reporting Period. The County’s Thirteenth Self-Assessment reports that
    regarding Compliance Measure 34-13(c)(2), which concerns inmates who only
    had Initial Release Plans, “50% of inmates receiv[ed] the required services and
    documentation rather than the required 85%.” The County’s posted results for the
    Third Quarter of 2021 reflect 60% compliance. During the prior monitoring
    period, the numbers were 42% in the Fourth Quarter of 2020 and 71% in the First
    Quarter of 2021.

            Similarly, regarding Compliance Measure 34-13(c)(3), which requires certain
    services and documentation relating to inmates who received a Comprehensive Release
    Plan, the County’s Thirteenth Self-Assessment reports that “35% of inmates receiv[ed]
    the required services and documentation, rather than the required 85%” during the
    Second Quarter of 2021. The County’s posted results for the Third Quarter of 2021
    reflect 26% compliance. 10 During the prior monitoring period, the numbers were 40% in
    the Fourth Quarter of 2020 and 16% in the First Quarter of 2021.

           The County is therefore rated as Non-Compliant with Provision 34 for the
    Thirteenth Reporting Period.




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       The County’s Thirteenth Augmented Self-Assessment included an inadvertent error, indicating that this
    number was 73%, which the County promptly corrected. The County’s posted results provide the accurate
    figure.


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            35.    Consistent with existing DMH and Sheriff’s Department policies, the
    County and the Sheriff will ensure that custody staff, before the end of shift, refer
    prisoners in general or special populations who are demonstrating a potential need for
    routine mental health care to a QMHP or a Jail Mental Evaluation Team (“JMET”)
    member for evaluation, and document such referrals. Custody staff will utilize the
    Behavior Observation and Referral Form.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of November 1, 2017,
                           through December 31, 2018 (verified))

            The Compliance Measures require the Department to review, for a randomly
    selected month each quarter, the Behavior Observation and Mental Health Referral
    (“BOMHR”) records for prisoners referred by custody staff to a QMHP or JMET
    member for “routine” mental health care to determine the timeliness of the referrals, and
    that 85% of the referrals “occurred before the end of the shift in which the potential need
    for mental health care is identified.”

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 35 in the Thirteenth
    Reporting Period.




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            36.     Consistent with existing DMH policies, the County and the Sheriff will
    ensure that a QMHP performs a mental health assessment after any adverse triggering
    event, such as a suicide attempt, suicide threat, self-injurious behavior, or any clear de-
    compensation of mental health status. For those prisoners who repeatedly engage in such
    self-injurious behavior, the County will perform such a mental health assessment only
    when clinically indicated, and will, when clinically indicated, develop an individualized
    treatment plan to reduce, and minimize reinforcement of, such behavior. The County and
    the Sheriff will maintain an on-call system to ensure that mental health assessments are
    conducted within four hours following the notification of the adverse triggering event or
    upon notification that the prisoner has returned from a medical assessment related to the
    adverse triggering event. The prisoner will remain under unobstructed visual observation
    by custody staff until a QMHP has completed his or her evaluation.

           STATUS:        NON-COMPLIANCE

            The Compliance Measures require the Department to develop a staffing schedule
    to provide on-call services, and the County’s Thirteenth Self-Assessment reported that it
    has complied with this requirement. The Compliance Measures also require the
    Department to review randomly selected records of prisoners newly admitted to mental
    health housing from a lower level of care due to an adverse triggering event during two
    randomly selected weeks per quarter. The County’s Thirteenth Self-Assessment reports
    that during the Second Quarter of 2021, (a) “79% -- rather than the required 95% -- of
    inmates” identified in the two randomly selected weeks received an assessment by a
    QMHP within four hours, as required by Compliance Measure 36-4(a). The County
    further reports that (b) 100% of the selected prisoners at TTCF and 100% at CRDF were
    seen on videos “under unobstructed visual observation pending assessment,” as required
    by Compliance Measure 36-4(b).

           The County’s Augmented Thirteenth Self-Assessment reports that for the Third
    Quarter of 2021, the Department complied with the staffing schedule requirement. The
    County further reports that during the Third Quarter of 2021 “78% -- rather than the
    required 95% -- of inmates” identified in the two randomly selected weeks received an
    assessment by a QMHP within four hours, as required by Compliance Measure 36-4(a).
    The County further reports that 80% of the selected prisoners at TTCF and 100% at
    CRDF were “under unobstructed visual observation pending assessment,” as is required
    by Compliance Measure 36-4(b).

            The Monitoring Team also periodically conducts qualitative reviews of relevant
    patient files to determine if the County is adequately detecting adverse triggering events
    and repeated acts of self-harm and conducting prompt, clinically-adequate treatment
    planning in response. In the last qualitative review, which was conducted in May 2021
    and included in the Twelfth Report, the Team found that QMHP “response times are
    generally within required timeframes, returning to levels observed approximately a year
    ago.” However, “adequate risk assessments are being done less than half of the time,
    although this is an improvement from the prior review. A corresponding plan to address
    those risks continues to be present in less than half of cases.”



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            The Monitor therefore noted in the Twelfth Report

            In cases of repeated self-harm, there were treatment plans to address the
            behavior in just 14% of cases (3 of 21). Even when treatment plans were
            created, they were generally “cursory and overly standardized rather than
            based on an individualized assessment and clinical case formulation.”
            Given the increased risks of suicide among inmates who have engaged in
            repeated acts of self-harm, as well as the increased number of suicides in
            the Department’s jails in the First Quarter of 2021, the County should
            prioritize treatment planning for these inmates in the future. If these
            results do not improve, the County may be rated as Non-Compliant with
            Provision 36 in the next Reporting Period.

            In November 2021, Drs. Johnson, Vess and Eargle, conducted a qualitative
    assessment of the County’s compliance with Paragraph 36. In it, they sought to assess,
    among other things, “the County’s methodology, specifically whether it sufficiently
    detects adverse triggering events and acts of repeated self-harm” in order to assure
    prompt assessment by a QMHP and a clinically-adequate treatment plan. They also
    sought to determine whether any assessment conducted “sufficiently addressed the
    adverse triggering event(s), including discussing relevant risk factors, and whether there
    was a clinically-adequate crisis response or safety plan put in place.”

             They noted that of 41 qualifying cases with a single adverse triggering event (five
    were indeterminate), 85% of the patients were seen within four hours by a QMHP. This
    is a slight improvement from the previous results. In 36% of the cases with a single
    adverse triggering event, a QMHP adequately evaluated the apparent risk factors. This is
    a decline from the 44% found during the previous review. Further, in only 18% of the
    cases was any safety plan or crisis response plan in place to address the risk factors,
    which represents a sharp decline from the 42% found during the prior review.

             Regarding cases of repeated self-harm, the Team assessed 10 patients who were
    being followed by the Complex Case Committee who had engaged in repeated instances
    of self-injurious behavior. There was a treatment plan to address this behavior in just
    10% of those cases. Of the lone case with a treatment plan, “it was marginal and not
    based upon an individualized case formulation to reduce and minimize the self-injurious
    behavior.” Of the remaining cases in the sample, “there was no indication that clinicians
    determined that a treatment plan was not clinically indicated or that a behavior
    management plan was put in place instead.” The County is therefore Non-Compliant
    with Provision 36 for the Thirteenth Reporting Period. 11

    11
      In its Correctional Health Services and Custody Compliance & Sustainability Bureau Combined Semi-
    Annual Report on Quality Improvement and Suicide Prevention Efforts – Quarter 2 2021 & Quarter 3
    2021, the County indicated that a significant majority of inmates who had engaged in self-directed violence
    did have a competent treatment plan. See Combined Suicide Prevention Report at 72-79. These reported
    results starkly contrast with the findings of the Monitor’s Mental Health Team. The County must closely
    examine the criteria it is using to evaluate treatment plans for this patient population given the findings
    discussed herein.


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            37.     Sheriff’s Court Services Division staff will complete a Behavioral
    Observation and Mental Health Referral (“BOMHR”) Form and forward it to the Jail’s
    mental health and/or medical staff when the Court Services Division staff obtains
    information that indicates a prisoner has displayed obvious suicidal ideation or when the
    prisoner exhibits unusual behavior that clearly manifests self-injurious behavior, or other
    clear indication of mental health crisis. Pending transport, such prisoner will be under
    unobstructed visual observation or subject to 15-minute safety checks.

           STATUS:         PARTIAL COMPLIANCE

            The Compliance Measures require the Department to randomly select six courts
    from among the three Court Divisions each quarter, review written communications and
    orders that refer to a suicide risk or serious mental health crisis for a prisoner and incident
    reports for self-injurious behavior by prisoners appearing in the selected courts, and
    determine if these incidents are reflected in BOMHR forms completed by the Court
    Services Division staff in the selected courts.

            The County’s Thirteenth Self-Assessment reported that 50% of the incidents
    involving problematic behavior identified by the judges and court clerks in seven
    randomly selected courts were reflected on BOHMRs in the Second Quarter of 2021.
    This falls below the 90% threshold for achieving Substantial Compliance reflected in
    Compliance Measure 37-4(a). The County’s Thirteenth Self-Assessment also reports that
    for the Third Quarter of 2021, 37% of the relevant incidents were reflected on BOHMRs,
    which falls below the relevant threshold. These both reflect significant decreases from
    the numbers reported in the Twelfth Reporting Period. These numbers must improve or
    the County may be rated Non-Compliant with Provision 37 in the next reporting period.




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            38.      Consistent with existing DMH policies and National Commission on
    Correctional Health Care standards for jails, the County and the Sheriff will ensure that
    mental health staff or JMET teams make weekly cell-by-cell rounds in restricted non-
    mental health housing modules (e.g., administrative segregation, disciplinary segregation)
    at the Jails to identify prisoners with mental illness who may have been missed during
    screening or who have decompensated while in the Jails. In conducting the rounds, either
    the clinician, the JMET Deputy, or the prisoner may request an out-of-cell interview.
    This request will be granted unless there is a clear and documented security concern that
    would prohibit such an interview or the prisoner has a documented history of repeated,
    unjustified requests for such out-of-cell interviews.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified))

            The Compliance Measures require the Department to review the documentation of
    the weekly cell-by-cell rounds and the JMET Logs for a randomly selected week each
    quarter to confirm that the required cell-by-cell checks were conducted and out-of-cell
    interviews were handled in accordance with this provision.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 38 in the Thirteenth
    Reporting Period.




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           39.     The County and the Sheriff will continue to use a confidential self-referral
    system by which all prisoners can request mental health care without revealing the
    substance of their requests to custody staff or other prisoners.

            STATUS            SUBSTANTIAL COMPLIANCE (as of July 1, 2017,
                              through June 30, 2018 (verified) at NCCF)

                              SUBSTANTIAL COMPLIANCE (as of April 1, 2021, through
                              September 30, 2021 (verified) at PDC South)

                              PARTIAL COMPLIANCE (at CRDF, TTCF, MCJ, and PDC
                              North)

                              NOT RATED (at PDC East)

            Substantial Compliance requires the Department to (a) verify that housing areas
    have the required forms and (b) review randomly selected self-referrals for mental health
    care from prisoners to confirm that (i) the referrals “were forwarded to DMH” by the
    Department, and (ii) that “DMH documented the timeliness and nature of DMH’s
    response to the self-referrals[.]” The thresholds for Substantial Compliance are that 85%
    of the housing areas have the required forms and 90% of the self-referrals must be
    forwarded by the Department to the Department of Health Services – Custody Health
    Services (DHS-CHS) and 90% must contain the required documentation of DHS-CHS’s
    response.

             The County’s Thirteenth Self-Assessment reports that it achieved Substantial
    Compliance with Compliance Measure 39-4(a) in the Second and Third Quarters of 2021
    “at all applicable” facilities.

            Regarding Compliance Measures 39-4(b) and 4(c), the County’s Thirteenth Self-
    Assessment reports that 100% of the self-referrals from PDC South, PDC North, TTCF,
    and MCJ, and 48% of the self-referrals from CRDF, were forwarded by the Department
    to CHS in the Second Quarter of 2021. It further reported that CHS documented the
    timeliness and nature of its response in 100% of the PDC South referrals, 80% of the
    PDC North referrals, 100% of the CRDF referrals, 40% of the TTCF referrals, and 62%
    of the MCJ referrals. 12 The results at PDC South have been verified by the Monitor’s
    auditors.

            The County’s Augmented Thirteenth Self-Assessment also reports that 100% of
    the self-referrals from PDC South, PDC North, CRDF, TTCF, and MCJ, were forwarded
    by the Department to CHS in the Third Quarter of 2021. The County further reports that
    CHS documented the timeliness and nature of its response in 100% of the PDC South
    referrals, 90% of the PDC North referrals, 64% of the CRDF referrals, 34% of the TTCF
    referrals, and 50% of the MCJ referrals. The results at PDC South have been verified by

    12
      According to the County’s Thirteenth Self-Assessment, “there were no relevant referrals from PDC East,
    the Department’s Fire Camp operation,” during the Second or Third Quarters of 2021.


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    the Monitor’s auditors. The results at PDC North could not be verified by the Monitor’s
    auditors.

            The County previously reported Substantial Compliance at NCCF for twelve
    consecutive months from July 1, 2017, through June 30, 2018. These results have been
    verified by the Monitor’s auditors and NCCF is no longer subject to monitoring for
    compliance with Paragraph 39.




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            40.    The County and the Sheriff will ensure a QMHP will be available on-site,
    by transportation of the prisoner, or through tele-psych 24 hours per day, seven days per
    week (24/7) to provide clinically appropriate mental health crisis intervention services.

           STATUS:         PARTIAL COMPLIANCE

             Substantial Compliance requires the County (1) to provide the Monitor with on-
    call schedules for two randomly selected weeks reflecting that a QMHP was assigned 24
    hours a day, seven days per week, and (2) to randomly select referrals for mental health
    crisis intervention received by a QMHP per quarter to verify (i) that a QMHP responded
    to all referrals, and (ii) responses to 90% of the referrals were within four hours.

            The County’s Thirteenth Self-Assessment reports that in the Second Quarter of
    2021, a QMHP responded to 96% of the referrals for mental health crisis intervention
    services, which is below the 100% threshold for Substantial Compliance, and that 92% of
    the responses were within four hours, which is above the 90% threshold for Substantial
    Compliance.

           The County’s Augmented Thirteenth Self-Assessment reports that in the Third
    Quarter of 2021, a QMHP responded to 97% of the referrals for mental health crisis
    intervention services and that 95% of the responses were within four hours, which
    exceeds the 90% threshold.

            In November 2021, Drs. Johnson, Vess, and Eargle, performed a qualitative
    review of the County’s compliance with Paragraph 40. They reviewed 60 qualifying
    cases from IRC, TTCF, CRDF, NCCF, and MCJ. A QMHP responded to the crisis in
    100% of cases and the response was within four hours in 85%. These responses were
    deemed to be clinically appropriate in 48% of cases. This represents continuing
    improvement from the 42% found in May 2021, and the 15% found in November 2020.

            According to the Monitor’s Mental Health Team, “what is typically missing is an
    indication that sound crisis interventions were attempted at the time of the initial clinical
    contact. More explicit documentation is needed of attempts at de-escalation when
    needed, consideration of alternative behaviors, explicit attention to and instruction in
    specific coping strategies, communication and collaboration with custody, or other short-
    term interventions intended to ensure the safety of the patient until changes in housing
    and more explicit treatment planning can be enacted.”




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            41.    Consistent with existing DMH policies, the County and the Sheriff will
    implement step-down protocols that provide clinically appropriate transition when
    prisoners are discharged from FIP after being the subject of suicide watch. The protocols
    will provide:

           (a)    intermediate steps between highly restrictive suicide measures (e.g.,
                  clinical restraints and direct constant observation) and the discontinuation
                  of suicide watch;

           (b)    an evaluation by a QMHP before a prisoner is removed from suicide
                  watch;

           (c)    every prisoner discharged from FIP following a period of suicide watch
                  will be housed upon release in the least restrictive setting deemed
                  clinically appropriate unless exceptional circumstances affecting the
                  facility exist; and

           (d)    all FIP discharges following a period of suicide watch will be seen by a
                  QMHP within 72 hours of FIP release, or sooner if indicated, unless
                  exceptional circumstances affecting the facility exist.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of April 1, 2021,
                          through September 30, 2021 (unverified))

             Substantial Compliance requires CHS to review the medical records of all
    prisoners on suicide watch in FIP for one randomly selected month each quarter, and
    submit a report regarding the implementation of the step-down protocols and the results
    of its review of the medical records. During the Fifth Reporting Period, the parties
    agreed to revise the Compliance Measures to increase the number of inmates subject to
    the step-down protocols of Paragraph 41 and ensure that the implementation of step-
    down protocols for FIP patients on suicide watch “ameliorate the impact of the
    restrictions” and have the necessary “level of precautions based upon individual
    assessment[s]” of the patients.

            The County’s Thirteenth Self-Assessment reports that the County met the
    requirements in Compliance Measure 41-4 for 100% of the prisoners discharged from
    FIP during the Second Quarter of 2021 after having been on suicide watch, which is
    above the 95% threshold for Substantial Compliance. The County’s Augmented
    Thirteenth Self-Assessment also reports that the County met the requirements in
    Compliance Measure 41-4 for 100% of the prisoners discharged from FIP during the
    Third Quarter of 2021 after having been on suicide watch. These results are subject to
    verification by the Monitor’s auditors and mental health team.




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            42.     Consistent with existing DMH policies, the County and the Sheriff will
    implement step-down protocols to ensure that prisoners admitted to HOH and placed on
    risk precautions are assessed by a QMHP. As part of the assessment, the QMHP will
    determine on an individualized basis whether to implement “step-down” procedures for
    that prisoner as follows:

            (a)      the prisoner will be assessed by a QMHP within three Normal business
                     work days, but not to exceed four days, following discontinuance of risk
                     precautions;

            (b)      the prisoner is counseled to ameliorate the negative psychological impact
                     that any restrictions may have had and in ways of dealing with this impact;

            (c)      the prisoner will remain in HOH or be transferred to MOH, as determined
                     on a case-by-case basis, until such assessment and counseling is
                     completed, unless exceptional circumstances affecting the facility exist;
                     and

            (d)      the prisoner is subsequently placed in a level of care/housing as
                     determined by a QMHP.

            STATUS:           COMPLIANCE SUSPENDED (at TTCF AND CRDF)

           The County’s Thirteenth Self-Assessment and posted results reflect that there
    were no relevant patients at TTCF or CRDF in the Second or Third Quarters of 2021. 13
    Compliance therefore remains suspended with Paragraph 42. The County should use the
    revised sampling methodology for assessing its compliance with Paragraph 42 in the
    Fourteenth Reporting Period.




    13
       As the Monitor wrote in the Twelfth Report, “the Monitor understands that CHS substantially restricted
    its use of Risk Precautions in the years after the Agreement was executed.” Given those changes, “and the
    increasingly small number of eligible patients sampled for Provision 42 in each reporting period…the
    Monitor encourages the Parties to meet with Subject Matter Expert Dr. Johnson to determine whether
    changes need to be made to Provision 42 and its associated Compliance Measures.” The Parties did, in
    fact, have such meetings during the Thirteenth Reporting Period and agreed upon a revised sampling
    methodology for Provision 42.



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           43.      Within six months of the Effective Date, the County and the Sheriff will
    develop and implement written policies for formal discipline of prisoners with serious
    mental illness incorporating the following:

           (a)     Prior to transfer, custody staff will consult with a QMHP to determine
                   whether assignment of a prisoner in mental health housing to disciplinary
                   housing is clinically contraindicated and whether placement in a higher
                   level of mental health housing is clinically indicated, and will thereafter
                   follow the QMHP’s recommendation;

           (b)     If a prisoner is receiving psychotropic medication and is placed in
                   disciplinary housing from an area other than mental health housing, a
                   QMHP will meet with that prisoner within 24 hours of such placement to
                   determine whether maintenance of the prisoner in such placement is
                   clinically contraindicated and whether transfer of the prisoner to mental
                   health housing is clinically appropriate, and custody staff will thereafter
                   follow the QMHP’s recommendation;

           (c)     A QMHP will participate in weekly walks, as specified in paragraph 38, in
                   disciplinary housing areas to observe prisoners in those areas and to
                   identify those prisoners with mental health needs; and

           (d)     Prior to a prisoner in mental health housing losing behavioral credits for
                   disciplinary reasons, the disciplinary decision-maker will receive and take
                   into consideration information from a QMHP regarding the prisoner’s
                   underlying mental illness, the potential effects of the discipline being
                   considered, and whether transfer of the prisoner to a higher level of mental
                   health housing is clinically indicated.




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           STATUS (43):           SUBSTANTIAL COMPLIANCE (as of October 1,
                                  2017, through September 30, 2018 (verified) at NCCF
                                  and PDC North)

                                  PARTIAL COMPLIANCE (at CRDF, MCJ, and
                                  TTCF)

            In response to comments by the Monitor and DOJ, the Department submitted
    proposed revisions to its discipline policies on May 30, 2017. After consulting with the
    Subject Matter Experts, the Monitor provided his written comments to the Department on
    June 29, 2017. DOJ provided its comments to the Department the same day. On April
    24, 2019, the Department submitted a proposed policy for discipline of mental health
    inmates, disabled inmates, and inmates with special needs. The Monitor and DOJ
    responded with written comments on May 30, 2019. On November 7, 2019, the
    Department submitted proposed policy revisions for inmate disciplinary procedures and
    disciplinary guidelines. The Monitor and DOJ responded on December 5 and 6, 2019,
    respectively. In the Twelfth Report, the County was rated as Non-Compliant with
    Provision 43 in the Twelfth Reporting Period at CRDF, MCJ, and TTCF as those policies
    “were never adopted by the Department in the subsequent two-and-a-half years.”

            Between August 17, 2021, and October 5, 2021, the County produced eight draft
    policies related to inmate discipline to the Monitor and DOJ. The DOJ provided
    comments on November 4, 2021, and the Monitor provided written feedback on
    November 7, 2021. In the Thirteenth Self-Assessment, the County reported that it is
    “working diligently to review any such comments for revision and hopefully adoption in
    Quarter 1, 2022.” The County should prioritize the finalization of these policies before
    the date of its next self-assessment.

            Regarding Compliance Measure 43-9(e), the Department posted a memo
    indicating that no inmates with mental illness lost behavioral credits for disciplinary
    reasons during the Second Quarter of 2021. The County reports that in the Second
    Quarter of 2021, 26% of the required consultations at CRDF “occurred prior to transfers
    from mental health housing.” The County further reports that 71% of the required
    meetings occurred when inmates receiving psychotropic medications were transferred to
    disciplinary housing from areas other than mental health housing. The County also
    reports that 80% of the weekly row walks through disciplinary units occurred at CRDF.

            The results for MCJ were 46%, 76%, and 100%. At TTCF, 69% of the required
    consultations “occurred prior to transfers from mental health housing,” and “there were
    no patients to assess for Measure 43-9(c) during this quarter,” since “[i]nstead of being
    used for discipline, these modules in TTCF were used for Covid-related quarantines
    during the reporting period.” Similarly, the County reports that regarding Compliance
    Measure 43-9(d), “there were no discipline row walks required during the random weeks
    as no inmates or patients were housed in TTCF discipline modules during the relevant
    weeks due to changes required to reduce the risk of spreading COVID-19.”




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            The County’s Augmented Thirteenth Self-Assessment reports that “no inmates
    with mental illness lost behavioral credits for disciplinary reasons during the Third
    Quarter of 2021.” Further, 81% of the required consultations at CRDF “occurred prior to
    transfers from mental health housing.” 81% of the required meetings occurred when
    inmates receiving psychotropic medications were transferred to disciplinary housing from
    areas other than mental health housing. The County also reports that 100% of the weekly
    row walks through disciplinary units occurred at CRDF. The results for TTCF were 71%
    (consultations before transfer), but there were no results to report for Compliance
    Measures 43-9(c) or 43-9(d) due to COVID-19 related population changes. For MCJ, the
    results were 88%, 80%, and 100% in the Third Quarter of 2021.

            The County reports that CHS staff at CRDF are using “a new template to assist
    with compliance with this provision,” which contributed to the substantial improvement
    in results between the Second and Third Quarters of 2021 at CRDF.

           The County previously achieved Substantial Compliance at NCCF and PDC
    North for twelve consecutive months and these facilities were not subject to monitoring
    for compliance with Paragraph 43 during the Thirteenth Reporting Period.




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             44.    Within six months of the Effective Date, the County and the Sheriff will
    install protective barriers that do not prevent line-of-sight supervision on the second floor
    tier of all High Observation Housing areas to prevent prisoners from jumping off of the
    second floor tier. Within six months of the Effective Date, the County and the Sheriff
    will also develop a plan that identifies any other areas in mental health housing where
    such protective barriers should be installed.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016)

           The County has maintained Substantial Compliance with Paragraph 44 of the
    Agreement since January 1, 2016. Pursuant to Paragraph 111 of the Settlement
    Agreement, the Department was not subject to monitoring for Substantial Compliance
    with Paragraph 44 in the Thirteenth Reporting Period.




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            45.      Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will provide both a Suicide Intervention Kit that contains an emergency cut-down
    tool and a first-aid kit in the control booth or officer’s station of each housing unit. All
    custody staff who have contact with prisoners will know the location of the Suicide
    Intervention Kit and first-aid kit and be trained to use their contents.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                           through September 30, 2016 (verified) at CRDF, NCCF, PDC
                           East, PDC South, and TTCF)

                           SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016 (verified) at MCJ and PDC North)

            The County maintained Substantial Compliance with Paragraph 45 for twelve
    consecutive months at all facilities as of December 31, 2016. Pursuant to Paragraph 111
    of the Settlement Agreement, the Department was not subject to monitoring for
    Substantial Compliance with Paragraph 45 in the Thirteenth Reporting Period.




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           46.    The County and the Sheriff will immediately interrupt, and if necessary,
    provide appropriate aid to, any prisoner who threatens or exhibits self-injurious behavior.

            STATUS:          SUBSTANTIAL COMPLIANCE (as of July 1, 2020 through
                             December 31, 2020 (verified), and through June 30, 2021
                             (unverified))

            The parties agreed on Revised Compliance Measures in 2021. Substantial
    Compliance requires the Department to review the documentation from randomly
    selected incidents involving prisoners who threaten or exhibit self-injurious behavior, and
    include an assessment of the timeliness and appropriateness of the Department’s
    responses to these incidents in its semi-annual Self-Assessment.

           The County’s Thirteenth Self-Assessment reports that for the Second Quarter of
    2021, 95% of the records reviewed “reflected that appropriate aid and (when necessary)
    immediate interruption of self-injurious behavior was provided by the Department.” 14
    The County’s Augmented Thirteenth Self-Assessment reports that for the Third Quarter
    of 2021, 96% of the records reviewed “reflected that appropriate aid and (when
    necessary) immediate interruption of self-injurious behavior was provided by the
    Department.” These results are subject to verification by the Monitor’s auditors.




    14
      The County notes that the Department expanded the number of cases beginning evaluated in this
    Provision in Third Quarter 2019 to include items from CIRCs, actual self-directed violence, and BOMHRs
    to address concerns raised by the Subject Matter Expert about the universe of cases being evaluated.


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             47.    The County and the Sheriff will ensure there are sufficient custodial,
    medical, and mental health staff at the Jails to fulfill the terms of this Agreement. Within
    six months of the Effective Date, and on a semi-annual basis thereafter, the County and
    the Sheriff will, in conjunction with the requirements of Paragraph 92 of this Agreement,
    provide to the Monitor and DOJ a report identifying the steps taken by the County and
    the Sheriff during the review period to implement the terms of this Agreement and any
    barriers to implementation, such as insufficient staffing levels at the Jails, if any. The
    County and the Sheriff will retain staffing records for two years to ensure that for any
    critical incident or non-compliance with this Agreement, the Monitor and DOJ can obtain
    those records to determine whether staffing levels were a factor in that critical incident
    and/or non-compliance.

            STATUS:           NON-COMPLIANCE

           The County’s posted results for Provision 47 reflect the County’s assessment of
    whether staffing levels were a factor in “any critical incident, or the Department’s
    handling of the incident,” as Compliance Measures 47-1 and 47-2 require. The County’s
    posted results report that 58 critical incidents 15 occurred during the First Half of 2021,
    and the County’s conclusion that staffing was not a factor in any of the incidents.

            However, Compliance Measure 47-3(a) also requires the County to report on “any
    barriers to implementation [of the Agreement] during the period,” including staffing
    levels. The Compliance Measures thus call for an assessment of the role that staffing
    levels played not only in the Department’s handling of critical incidents, but in any lack
    of compliance with the Agreement itself. The County has not yet provided the analysis
    required by Provision 47, and has committed to do so by the end of March 2022.




    15
      31 Inmate Deaths, 4 Serious Suicide Attempts, 15 Inmate Assaults on Staff, and 8 Category 3 Uses of
    Force.


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            48.     Within three months of the Effective Date, the County and the Sheriff will
    have written housekeeping, sanitation, and inspection plans to ensure the proper cleaning
    of, and trash collection and removal in, housing, shower, and medical areas, in
    accordance with California Code of Regulations (“CCR”) Title 15 § 1280: Facility
    Sanitation, Safety, and Maintenance.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016)

            The County maintained Substantial Compliance with Paragraph 48 of the
    Agreement at all facilities for twelve consecutive months as of December 31, 2016.
    Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not subject
    to monitoring for Substantial Compliance with Paragraph 48 in the Thirteenth Reporting
    Period.




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            49.      Within three months of the Effective Date, the County and the Sheriff will
    have a maintenance plan to respond to routine and emergency maintenance needs,
    including ensuring that shower, toilet, sink, and lighting units, and heating, ventilation,
    and cooling system are adequately maintained and installed. The plan will also include
    steps to treat large mold infestations.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of March 1, 2016,
                          through February 28, 2017)

            The County maintained Substantial Compliance with Paragraph 49 of the
    Agreement at all facilities for twelve consecutive months as of February 28, 2017.
    Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not subject
    to monitoring for Substantial Compliance with Paragraph 49 in the Thirteenth Reporting
    Period.




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           50.     Consistent with existing Sheriff’s Department policies regarding control of
    vermin, the County and the Sheriff will provide pest control throughout the housing units,
    medical units, kitchen, and food storage areas.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) at all facilities other than
                          PDC South and PDC East)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                          March 31, 2017 (verified) at PDC South and PDC East)

            The County maintained Substantial Compliance with Paragraph 50 of the
    Agreement at all facilities for twelve consecutive months as of March 31, 2017. Pursuant
    to Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring for Substantial Compliance with Paragraph 50 in the Thirteenth Reporting
    Period.




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            51.    Consistent with existing Sheriff’s Department policies regarding personal
    care items and supplies for inmates, the County and the Sheriff will ensure that all
    prisoners have access to basic hygiene supplies, in accordance with CCR Title 15 § 1265:
    Issue of Personal Care Items.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) for all facilities other
                          than CRDF)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2016,
                          through June 30, 2017 (verified) at CRDF)

            The County maintained Substantial Compliance with Paragraph 51 of the
    Agreement at all facilities for twelve consecutive months as of June 30, 2017. Pursuant
    to Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring for Substantial Compliance with Paragraph 51 in the Thirteenth Reporting
    Period.




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             52.    The County and the Sheriff will implement policies governing property
    restrictions in High Observation Housing that provide:

           (a)    Except when transferred directly from FIP, upon initial placement in
                  HOH:

                  (i)     Suicide-resistant blankets, gowns, and mattresses will be provided
                          until the assessment set forth in section (a)(ii) below is conducted,
                          unless clinically contraindicated as determined and documented by
                          a QMHP.

                  (ii)    Within 24 hours, a QMHP will make recommendations regarding
                          allowable property based upon an individual clinical assessment.

           (b)    Property restrictions in HOH beyond 24 hours will be based on clinical
                  judgment and assessment by a QMHP as necessary to ensure the safety
                  and well-being of the prisoner and documented in the electronic medical
                  record.

           STATUS:        PARTIAL COMPLIANCE

            Substantial Compliance requires the Department to (1) randomly inspect the cells
    of prisoners placed in HOH (except from FIP) within the previous 24 hours to confirm
    that they have been provided with suicide-resistant blankets, gowns and mattresses unless
    clinically contraindicated, and document the results of the inspection; (2) randomly
    inspect the cells of prisoners placed in HOH (except from FIP) for more than 24 hours to
    confirm that they have been provided with allowable property as recommended by a
    QMHP; and (3) review the electronic medical records of prisoners assigned to HOH on
    the days of those inspections to verify compliance with the provisions of Paragraph 52.
    All the Compliance Measures have a 95% threshold for Substantial Compliance.

           During the Eleventh Reporting Period, the County acknowledged

           the challenges it has in complying with this Provision. During the Reporting
           Period, the CHS-Compliance team met with supervising staff at CRDF to review
           the provisions requirements, audit results, and explain how to conduct an audit to
           more timely assess compliance progress…CRDF, in particular received training
           in how to conduct its own internal assessments on June 24, 2020 and began
           conducting its own audits in late September 2020. The results of those audits
           were then reviewed by the CHS Compliance Program for feedback and ideas for
           improvement. CHS anticipates improved performance in future reporting periods.

           In its Thirteenth Self-Assessment, the County reports continuing improvement at
    CRDF in the Thirteenth Reporting Period. The County reports that in the Second Quarter
    of 2021, at CRDF “70%—rather than the required 95%—of the electronic medical
    records for inmates assigned to HOH reflected a recommendation by a QMHP regarding



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    allowable property pursuant to Compliance Measure 52-5(c).” 16 Additionally, “46%—
    rather than the required 95%—of electronic medical records for inmates assigned to HOH
    reflect that property restrictions were based upon the clinical judgment of a QMHP
    pursuant to Compliance Measure 52-5(d).” The County also reported that “100%—more
    than the required 95%—of inmates analyzed pursuant to Compliance Measure 52-5(e)
    had allowable property as recommended by a QMHP (unless refused by the inmate).”

             The County also reports that at TTCF in the Second Quarter of 2021, “90%—
    rather than the required 95%—of inmates analyzed pursuant to Compliance Measure 52-
    5(b) were provided suicide-resistant blankets, gowns and mattresses as required by this
    Provision.” “76%—rather than the required 95%—of the electronic medical records for
    inmates assigned to HOH reflected a recommendation by a QMHP regarding allowable
    property pursuant to Compliance Measure 52-5(c).” “72%—rather than the required
    95%—of electronic medical records for inmates assigned to HOH reflect that property
    restrictions were based upon the clinical judgment of a QMHP pursuant to Compliance
    Measure 52-5(d).” “95%—equal to the required 95%—of inmates analyzed pursuant to
    Compliance Measure 52-5(e) had allowable property as recommended by a QMHP
    (unless refused by the inmate).”

            The County’s Augmented Thirteenth Self-Assessment reports that at CRDF in the
    Third Quarter of 2021, “83%—rather than the required 95%—of the electronic medical
    records for inmates assigned to HOH reflected a recommendation by a QMHP regarding
    allowable property pursuant to Compliance Measure 52-5(c).” “70%—rather than the
    required 95%—of electronic medical records for inmates assigned to HOH reflect that
    property restrictions were based upon the clinical judgment of a QMHP.” “98%—more
    than the required 95%—of inmates analyzed pursuant to Compliance Measure 52-5(e)
    had allowable property as recommended by a QMHP (unless refused by the inmate).”

            The County reports that at TTCF in the Third Quarter of 2021, “90%—less than
    the required 95%—of inmates analyzed pursuant to Compliance Measure 52-5(b) were
    provided suicide-resistant blankets, gowns and mattresses as required by this Provision.”
    “61%—rather than the required 95%—of the electronic medical records for inmates
    assigned to HOH reflected a recommendation by a QMHP regarding allowable property
    pursuant to Compliance Measure 52-5(c).” “66%—rather than the required 95%—of
    electronic medical records for inmates assigned to HOH reflect that property restrictions
    were based upon the clinical judgment of a QMHP pursuant to Compliance Measure 52-
    5(d).” “97%—more than the required 95%—of inmates analyzed pursuant to
    Compliance Measure 52-5(e) had allowable property as recommended by a QMHP
    (unless refused by the inmate).”

           In November 2021, Drs. Johnson, Vess, and Eargle conducted a qualitative
    review of the County’s compliance with Provision 52. They sought to evaluate “whether
    there was an assessment by a QMHP within 24 hours” and “whether any restrictions

    16
      Due to changes that result from the COVID-19 pandemic, as in the Twelfth Reporting Period, the
    County’s Self-Assessment does not report on its compliance with Compliance Measure 52-5(b) at CRDF in
    the Second or Third Quarters of 2021.


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    imposed were based upon a clinically appropriate evaluation of relevant risks.” They
    found that in 96% of cases, a QMHP did provide an assessment, and it was within 24
    hours in 92% of cases. In 60% of cases (30 of 50) the records reflected the risks
    determined to justify the property restrictions. This was a substantial improvement from
    the 36% found during the last qualitative review. There was a current assessment in 79%
    of cases that was based on articulated, relevant risks in 53% of cases. The County is
    making commendable progress at implementing Provision 52 and with sufficient efforts,
    should be able to expeditiously achieve Substantial Compliance.




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            53.     If otherwise eligible for an education, work, or similar program, a
    prisoner’s mental health diagnosis or prescription for medication alone will not preclude
    that prisoner from participating in said programming.

            STATUS:           SUBSTANTIAL COMPLIANCE (as of July 1, 2021, through
                              September 30, 2021 (unverified))

            Substantial Compliance requires the Department to audit the records of prisoners
    who were eligible, but rejected or disqualified, for education and work programs to
    confirm that they were not rejected or disqualified because of a mental health diagnosis
    or prescription for medication alone.

           The County’s Thirteenth Self-Assessment reports that 48% of the eligible
    mentally ill prisoners who were denied education or work in the Second Quarter of 2021
    and 92% in the Third Quarter of 2021 “were not rejected or disqualified from education
    or work programs solely because of a mental health diagnosis or prescription for
    medication.” The Substantial Compliance results are subject to verification by the
    Monitor’s auditors.

            The County has previously reported that due to the COVID-19 pandemic, “fewer
    inmates will be able to participate in education or work programs during the public health
    crisis.” Indeed, the populations of eligible inmates (59 inmates in the Second Quarter of
    2021, and 32 inmates in the Third Quarter of 2021) making requests for education or
    work programing were far smaller than during comparable periods before the COVID-19
    pandemic. 17 The County’s results in the Thirteenth Monitoring are therefore necessarily
    impacted by the smaller number of eligible, requesting inmates, and the decline in
    programming available during the pandemic.




    17
      For example, there were 99 eligible, requesting inmates in the Fourth Quarter of 2019 and 114 eligible,
    requesting inmates in the First Quarter of 2020.


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            54.    Prisoners who are not in Mental Health Housing will not be denied
    privileges and programming based solely on their mental health status or prescription for
    psychotropic medication.

            STATUS:           PARTIAL COMPLIANCE

            Substantial Compliance under the revised Compliance Measures for Paragraph
    54, effective January 1, 2018, requires the Department to audit the records of a maximum
    of 100 randomly selected prisoners identified on the Wednesday Pharmacy List as having
    received psychotropic medication to confirm that no more than 10% were rejected or
    disqualified because of a mental health diagnosis or prescription for psychotropic
    medication alone. Because the Monitor’s auditors had verified that the County has
    maintained Substantial Compliance under the original Compliance Measures, the parties
    agreed that the County will only be required to maintain Substantial Compliance under
    the revised Compliance Measures for two additional quarters. 18

           The County’s Thirteenth Self-Assessment reports that in the Second Quarter of
    2021, 19% of inmates “were denied requests improperly for the purposes of this
    provision.” It further reports that in the Third Quarter of 2021, “17% of inmates were
    denied requests improperly for purposes of this provision.




    18
       The Twelfth Report noted that the Monitor’s auditors had verified the County’s compliance in the First
    Quarter of 2020 and were attempting to verify compliance for the Second Quarter of 2020. “If verified, the
    County will have maintained Substantial Compliance under the revised Compliance Measures for two
    additional quarters and will no longer [be] subject to monitoring for Substantial Compliance with
    Paragraph 54.” However, the Monitor’s auditors were unable to verify the County’s compliance for the
    Second Quarter of 2020.


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            55.    Relevant custody, medical, and mental health staff in all High Observation
    Housing units will meet on normal business work days and such staff in all Moderate
    Observation Housing units will meet at least weekly to ensure coordination and
    communication regarding the needs of prisoners in mental health housing units as
    outlined in Custody Services Division Directive(s) regarding coordination of mental
    health treatment and housing. When a custody staff member is serving as a member of a
    treatment team, he or she is subject to the same confidentiality rules and regulations as
    any other member of the treatment team, and will be trained in those rules and
    regulations.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2016,
                          through September 30, 2017 (verified) at CRDF)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2017,
                          through March 31, 2018 (verified) at PDC North)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2018, through
                          March 31, 2019 (verified) at MCJ)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2019, through
                          June 30, 2020 (verified) at TTCF)

            The Department maintained Substantial Compliance for twelve consecutive
    months at all facilities as of June 30, 2020. These results have now been verified by the
    Monitor’s auditors. Pursuant to Paragraph 111 of the Settlement Agreement, the
    Department was not subject to monitoring for Substantial Compliance with Paragraph 55
    in the Thirteenth Reporting Period.




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            56.     Consistent with existing DMH and Sheriff’s Department policies, the
    County and the Sheriff will ensure that custody, medical, and mental health staff
    communicate regarding any change in a prisoner’s housing assignment following a
    suicide threat, gesture, or attempt, or other indication of an obvious and serious change in
    mental health condition.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016 (verified))

            Substantial Compliance requires the Department to review in randomly selected
    periods the electronic medical records of (1) prisoners admitted to HOH following a
    suicide threat, gesture, or attempt, or other indication of an obvious and serious change in
    mental health condition to determine if the medical and/or mental health staff approved
    the placement of the prisoner in HOH; and (2) prisoners who were the subject of a suicide
    attempt notification to determine if the prisoners were clinically assessed and that clinical
    staff approved the post-incident housing.

            The County’s Substantial Compliance results for the twelve months from January
    1, 2016, through December 31, 2016 were verified by the Monitor’s auditors. Pursuant to
    Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring for Substantial Compliance with Paragraph 56 in the Thirteenth Reporting
    Period.




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            57 (Revised). Within three months of the Effective Date, the County and the
    Sheriff will revise and implement their policies on safety checks to ensure a range of
    supervision for prisoners housed in Mental Health Housing. The County and the Sheriff
    will ensure that safety checks in Mental Health Housing are completed and documented
    in accordance with policy and regulatory requirements as set forth below:

           (a)    Custody staff will conduct safety checks in a manner that allows staff to
                  view the prisoner to assure his or her well-being and security. Safety
                  checks involve visual observation and, if necessary to determine the
                  prisoner’s well-being, verbal interaction with the prisoner;

           (b)    Custody staff will document their checks in a format that does not have
                  pre-printed times;

           (c)    Custody staff will stagger checks to minimize prisoners’ ability to plan
                  around anticipated checks;

           (d)    Video surveillance may not be used to replace rounds and supervision by
                  custodial staff unless new construction is built specifically with constant
                  video surveillance enhancements and could only be used to replace the
                  required safety checks in non-FIP housing, subject to approval by the
                  Monitor;

           (e)    A QMHP, in coordination with custody (and medical staff if necessary),
                  will determine mental health housing assignments; and

           (f)    Supervision of prisoners in mental health housing will be conducted at the
                  following intervals:

                  (i)     FIP: Custody staff will perform safety checks every 15 minutes.
                          DMH staff will perform direct constant observation or one-to-one
                          observation when determined to be clinically appropriate;

                  (ii)    High Observation Housing: Every 15 minutes;

                  (iii)   Moderate Observation Housing: Every 30 minutes.




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           STATUS (57):          SUBSTANTIAL COMPLIANCE (as of April 1, 2017,
                                 through March 31, 2018 (verified) at MCJ)

                                 SUBSTANTIAL COMPLIANCE (as of July 1, 2021,
                                 through September 30, 2021 (verified) at PDC North)

                                 PARTIAL COMPLIANCE (at TTCF and CRDF)

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 57 (“Revised Paragraph 57”) as set
    forth above. The Parties also agreed on Revised Compliance Measures. Substantial
    Compliance requires the Department to audit the Title 15 Dashboard records (or e-UDAL
    records if the Title 15 scanner was not working) for all shifts for each module in each
    mental health housing unit in two randomly selected weeks to determine if the safety
    checks were staggered and conducted as required by Paragraph 57 of the Agreement, and
    to audit the housing records for each mental health housing unit for a randomly selected
    week to determine if QMHPs approved the new mental health housing assignments as
    required by Paragraph 57(e).

             The County’s Sixth Self-Assessment reported that it maintained Substantial
    Compliance with Compliance Measure 57-5(b) in the Fourth Quarter of 2017 and the
    First Quarter of 2018 in the MOH unit at MCJ (the “Hope Dorm”). It also reported that
    all of the inmates at MCJ “analyzed pursuant to Compliance Measure 57-5(c) had
    received QMHP approval for their housing assignments” in both quarters. The results
    were verified by the Monitor’s auditors and MCJ was not subject to monitoring for
    compliance with Paragraph 57 in the Thirteenth Reporting Period.

           The County’s Thirteenth Self-Assessment reports that 58% of the safety checks
    were in compliance with Compliance Measure 57-5(b) (safety checks in FIP) in the
    Second Quarter of 2021 at TTCF. It also reports that 66% and 79% of the safety checks
    were in compliance with Compliance Measure 57-5(c) (safety checks in HOH) in the
    Second Quarter 2021 at TTCF and CRDF, respectively. The County also reports that
    60% and 82% of the safety checks complied with Compliance Measure 57-5(d) (safety
    checks in MOH) at TTCF and CRDF, respectively. Further, 98% and 100% of the new
    mental health housing assignments at TTCF and CRDF, respectively, were approved by a
    QMHP in the Second Quarter of 2021.

             The County’s Augmented Thirteenth Self-Assessment reports that 65% of the
    safety checks were in compliance with Compliance Measure 57-5(b) (safety checks in
    FIP) in the Third Quarter of 2021 at TTCF. It also reports that 57% and 28% of the
    safety checks were in compliance with Compliance Measure 57-5(c) (safety checks in
    HOH) in the Third Quarter 2021 at TTCF and CRDF, respectively. The County’s posted
    results indicate that 41% and 32% of the safety checks complied with Compliance
    Measure 57-5(d) (safety checks in MOH) at TTCF and CRDF, respectively. Further,
    100% and 93% of the new mental health housing assignments at TTCF and CRDF,
    respectively, were approved by a QMHP in the Third Quarter of 2021.



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           The County’s Augmented Thirteenth Self-Assessment also reports that 94% and
    96% of the safety checks at PDC North were in compliance with Compliance Measure
    57-5(d) in the Second and Third Quarters of 2021, respectively. 19 The results for the
    Third Quarter of 2021 have been verified by the Monitor’s auditors.




    19
      The County has indicated that patients assigned to mental health housing at PDC North first have their
    housing assignments approved by a QMHP at either TTCF or MCJ, which is why results are not separately
    reported for PDC North for Compliance Measure 57-5(e). PDC North also does not have HOH housing
    (57-5(c)) or a FIP (57-5(b)) hence the lack of results for those compliance measures.


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            58.     Within three months of the Effective Date, the County and the Sheriff will
    revise and implement their policies on safety checks. The County and the Sheriff will
    ensure that safety checks in non-mental health housing units are completed and
    documented in accordance with policy and regulatory requirements as set forth below:

           (a)     At least every 30 minutes in housing areas with cells;

           (b)     At least every 30 minutes in dormitory-style housing units where the unit
                   does not provide for unobstructed direct supervision of prisoners from a
                   security control room;

           (c)     Where a dormitory-style housing unit does provide for unobstructed direct
                   supervision of prisoners, safety checks must be completed inside the unit
                   at least every 60 minutes;

           (d)     At least every 60 minutes in designated minimum security dormitory
                   housing at PDC South, or other similar campus-style unlocked dormitory
                   housing;

           (e)     Custody staff will conduct safety checks in a manner that allows staff to
                   view the prisoner to assure his or her well-being and security. Safety
                   checks involve visual observation and, if necessary to determine the
                   prisoner’s well-being, verbal interaction with the prisoner;

           (f)     Custody staff will document their checks in a format that does not have
                   pre-printed times;

           (g)     Custody staff will stagger checks to minimize prisoners’ ability to plan
                   around anticipated checks; and

           (h)     Video surveillance may not be used to replace rounds and supervision by
                   custodial staff.




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            STATUS (58):               SUBSTANTIAL COMPLIANCE (as of January 1,
                                       2016, through December 31, 2016 (verified) at PDC
                                       South, PDC North, and PDC East)

                                       SUBSTANTIAL COMPLIANCE ( as of July 1, 2017,
                                       through June 30, 2018 (verified) at CRDF)

                                       SUBSTANTIAL COMPLIANCE (as of October 1,
                                       2017, through September 30, 2018 (verified) at IRC)

                                       SUBSTANTIAL COMPLIANCE (as of April 1, 2021,
                                       through September 30, 2021 (verified) at NCCF)

                                       PARTIAL COMPLIANCE (at TTCF and MCJ)

           Substantial Compliance requires the Department to audit the Title 15 Dashboard
    records (or e-UDAL records) for all shifts for each module in each housing unit to
    determine if the safety checks were staggered and conducted as required by Paragraph 58.
    The threshold for achieving Substantial Compliance with each of the Compliance
    Measures is 90%.

           The County maintained Substantial Compliance with Paragraph 58 for twelve
    consecutive months at PDC South, PDC North, and PDC East as of December 31, 2016,
    at CRDF as of June 30, 2018, and at IRC as of September 30, 2018. These results have
    been verified by the Monitor’s auditors. Pursuant to Paragraph 111 of the Settlement
    Agreement, the County was not subject to monitoring at those facilities for Substantial
    Compliance with Paragraph 58 in the Thirteenth Reporting Period.

           The County’s Augmented Thirteenth Self-Assessment reports that for the Second
    Quarter of 2021 and the Third Quarter of 2021 the following percentages of safety checks
    were in compliance with Paragraph 58 at TTCF: 67% and 66%, at MCJ: 44% and 64%,
    and at NCCF: 91% and 93%. The results at NCCF were verified by the Monitor’s
    auditors. 20




    20
      The Twelfth Report noted that the Monitor’s auditors had verified the County’s compliance at NCCF as
    of April 1, 2020, through September 30, 2020. The Monitor’s auditors were also able to verify the reported
    results for the Fourth Quarter of 2020. However, the Monitor’s auditors found that safety checks in
    Module 911 were not sufficiently staggered in the First Quarter of 2021. The Monitor’s auditors found that
    the safety checks were sufficiently staggered in the Second and Third Quarters of 2021. However, the
    County can consistently improve staggering by changing the sequence of checks within rounds.


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            59.     Consistent with existing Sheriff’s Department policies regarding uniform
    daily activity logs, the County and the Sheriff will ensure that a custodial supervisor
    conducts unannounced daily rounds on each shift in the prisoner housing units to ensure
    custodial staff conduct necessary safety checks and document their rounds.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2017,
                          through December 31, 2017 (verified) at PDC East and MCJ)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                          March 31, 2018 (verified) at NCCF)

                          SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018 (verified) at CRDF)

                          SUBSTANTIAL COMPLIANCE (as of January 1, 2018,
                          through December 31, 2018 (verified) at PDC North and PDC
                          South)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2018,
                          through March 31, 2019 (verified) at TTCF)

            Substantial Compliance requires the Department to audit e-UDAL records for
    housing units in each facility to determine if supervisors are conducting unannounced
    daily rounds in accordance with Paragraph 59. In response to the Monitor’s comments,
    the Department’s e-UDAL forms were modified to include a specific notation that the
    Supervisor verified that the safety checks were conducted. The threshold for achieving
    and maintaining Substantial Compliance is that 90% of the supervisor daily rounds were
    in compliance with the requirements of Paragraph 59.

           The County’s Substantial Compliance results were verified by the Monitor’s
    auditors. Pursuant to Paragraph 111 of the Settlement Agreement, the Department was
    not subject to monitoring for Substantial Compliance with Paragraph 59 in the Thirteenth
    Reporting Period.




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            60.      Within six months of the Effective Date, the Department of Mental
    Health, in cooperation with the Sheriff’s Unit described in Paragraph 77 of this
    Agreement, will implement a quality improvement program to identify and address
    clinical issues that place prisoners at significant risk of suicide or self-injurious behavior.

            STATUS:          SUBSTANTIAL COMPLIANCE (as of April 1, 2019
                             through March 31, 2020)

            Paragraph 60 requires the County to “implement a quality improvement program
    to identify and address clinical issues that place prisoners at significant risk of suicide or
    self-injurious behavior.” The Compliance Measures for Paragraph 60 require the County
    to “identify and address. . .clinical issues” in the areas identified in Paragraph 61 of the
    Agreement” and corrective actions are taken to address “such issues.” See Compliance
    Measures 60.1, 60.2(a), and 60.3(b).

           The Monitor and the Mental Health Subject Matter previously agreed that the
    Department had demonstrated “a sound quality improvement process and the ability to
    demonstrate that process through specific quality improvement projects directed by
    management,” and the Monitor finds that the County had demonstrated that it maintained
    Substantial Compliance with Paragraph 60. Pursuant to Paragraph 111 of the Settlement
    Agreement, the Department was not subject to monitoring for Substantial Compliance
    with Paragraph 60 in the Thirteenth Reporting Period. 21




     The County has acknowledged that its ongoing Quality Improvement efforts will remain subject to
    21

    monitoring under other provisions of the Settlement Agreement.


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            61.    The quality improvement program will review, collect, and aggregate data
    in the following areas and recommend corrective actions and systemic improvements:

           (a)    Suicides and serious suicide attempts:

                  (i)     Prior suicide attempts or other serious self-injurious behavior
                  (ii)    Locations
                  (iii)   Method
                  (iv)    Lethality
                  (v)     Demographic information
                  (vi)    Proximity to court date;

           (b)    Use of clinical restraints;

           (c)    Psychotropic medications;

           (d)    Access to care, timeliness of service, and utilization of the Forensic In-
                  patient Unit; and

           (e)    Elements of documentation and use of medical records.

           STATUS:        PARTIAL COMPLIANCE

            Substantial Compliance requires the County’s semi-annual reports to (a) review,
    collect, and aggregate data in the areas set forth in Paragraph 61; (b) recommend
    corrective actions and systemic improvements in those areas; and (c) assess the
    effectiveness of actions and improvements in prior reporting periods.

            On January 13, 2022, the County posted the Correctional Health Services and
    Custody Compliance & Sustainability Bureau Combined Semi-Annual Report on Quality
    Improvement and Suicide Prevention Efforts – Quarter 2 2021 & Quarter 3 2021
    (“Combined Suicide Prevention Report”), which relates to Paragraphs 60, 61, 62, and 77.
    The Combined Suicide Prevention Report sets forth aggregate data for the 28 suicides
    that occurred between 2015 and the end of the Third Quarter of 2021, and 149 critical
    incidents that occurred between 2016 and the end of the Third Quarter of 2021, broken
    down by the subparts of Paragraph 61(a). The report also includes case-specific
    discussions of the three suicides that occurred during the Second Quarter of 2021 and
    Third Quarter of 2021 at county jail facilities.

           The Monitor analyzed the County’s Combined Suicide Prevention Report in
    consultation with Drs. Johnson, Vess, and Eargle. Our view is that the Department has
    continued to make progress in its Quality Improvement efforts. The Combined Suicide
    Prevention Report collects much of the data required by this provision and includes some
    analysis and interpretation of that data.




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            For example, the Combined Suicide Prevention Report focuses on a “Covid
    Cohort” of 12 suicides that occurred between the Second Quarter of 2020 and the Third
    Quarter of 2021. The report evaluates patient, mental health, and facility-level
    characteristics of this “cohort,” and attempts to draw certain conclusions about likely risk
    factors. This is a useful analysis, and the Department is to be commended for being
    responsive to changing conditions impacting suicidality through this proactive data
    analysis project.

           The report lists several relatively recent corrective actions or initiatives
    implemented by the Department to mitigate suicide risk. This includes a (now
    suspended) JMET pilot program to address risks of self-harm after patient court dates,
    deployment of Narcan, training of “merit masters,” changes to JMET’s operations, and
    the deployment of therapy dogs. All of these are potentially useful initiatives. However,
    for most of them, it is unclear what data trends they are specifically responsive to. 22

             In the last reporting period, the County reported that it has a vacant position for a
    statistical analyst to work on data analysis in connection with the Department’s suicide
    prevention efforts. In the most recent Combined Suicide Prevention Report, the County
    reports that the position continued to be vacant during the Thirteenth Reporting Period.

            As mentioned in the previous report, the statistical analyst at CCSB who
            assisted with much of the aggregate data gathering, analysis, and
            presentation was promoted (July 2019). Despite significant efforts to
            secure a replacement, the position continues to remain vacant due to a
            County-Wide hiring freeze. CCSB reports all professional staff positions
            have been frozen and they cannot backfill on lost civilian positions. The
            lack of a statistician has continued to impact the County’s ability to
            evaluate data at the level of detail that it would like and to address the
            feedback received in previous Monitor’s reports regarding the quality
            improvement provisions.

             The County has made noteworthy progress on Provision 61 and Substantial
    Compliance is within its reach. Given the continuing gaps in the Department’s ability to
    take its aggregated data about suicide and self-harm and tie it to specific corrective
    actions, the County should prioritize the hiring of a data analyst in the next reporting
    period. Achieving Substantial Compliance will require the Department to specifically
    explain how the data that it now effectively collects has been used to develop system-
    wide corrective actions and improvements, including following up to assess their
    outcomes and revising policies, if needed.


    22
      The Combined Suicide Prevention Report does indicate that the JMET Pilot Program was implemented
    “due to the recent reports of acts of self-directed violence committed by inmates who had a court date
    within one week of their act of self-harm.” However, the Pilot Program was initiated at the North County
    Facilities. The County does not explain what data it relied upon to launch the program at the North County
    Facilities, nor does the data in the report make this clear. Indeed, none of the suicides between 2015 and
    the Third Quarter of 2021, and only a very small number of the listed critical incidents, occurred at the
    North County facilities.


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          62.    The County and the Sheriff’s Unit described in Paragraph 77 of this
    Agreement will develop, implement, and track corrective action plans addressing
    recommendations of the quality improvement program.

           STATUS:        PARTIAL COMPLIANCE

            Substantial Compliance requires the County’s semi-annual Self-Assessments to
    set forth (a) the “development of corrective action plans to address the most recent
    recommendations of the quality improvement program;” and (b) the “implementation and
    tracking of corrective action plans to address recommendations of the program in prior
    quarters.”

             On January 13, 2022, the County posted the Correctional Health Services and
    Custody Compliance & Sustainability Bureau Combined Semi-Annual Report on Quality
    Improvement and Suicide Prevention Efforts – Quarter 2 2021 & Quarter 3 2021
    (“Combined Suicide Prevention Report”), which relates to Paragraphs 60, 61, 62, 72, and
    77. The Combined Suicide Prevention Report sets forth aggregate data for the 28
    suicides that occurred between 2015 and the end of the Third Quarter of 2021, and 149
    critical incidents that occurred between 2016 and the end of the Third Quarter of 2021.
    The report also includes case-specific discussions of the three suicides that occurred
    during the Second Quarter of 2021 and Third Quarter of 2021 at county jail facilities.

           In the Twelfth Report, the Monitor noted

           the [County’s] reporting on the CAPS is not systematic or clearly
           organized. There is not much information included about follow up on
           previous QI projects. Further, it is difficult to verify a direct correlation
           between CAPS and the increased safety and care of patients and also
           difficult to determine if a CAP that was instituted prevented similar
           adverse events from occurring or if the issue that resulted in the CAP was
           a singular issue.

           By way of update, the Combined Suicide Prevention Report stated

           the County continues to make improvements with the tracking and
           organization of issues identified at CIRC meetings, however, taking this
           analysis further is limited at present given the bandwidth of our program.
           We anticipate the newly hired analyst for the Compliance program will be
           helpful with moving this analysis further to provide more meaningful data
           and next steps.




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            63.      The County and the Sheriff will maintain adequate High Observation
    Housing and Moderate Observation Housing sufficient to meet the needs of the jail
    population with mental illness, as assessed by the County and the Sheriff on an ongoing
    basis. The County will continue its practice of placing prisoners with mental illness in
    the least restrictive setting consistent with their clinical needs.

           STATUS:        PARTIAL COMPLIANCE (TTCF)

                          NON-COMPLIANCE (CRDF)

           The Parties agreed on Revised Compliance Measures in 2021. The Revised
    Compliance Measures require that 90% of inmates waited for permanent HOH and MOH
    housing for no more than 7 days, and that 100% of inmates waited for permanent HOH
    and MOH housing for no more than 30 days.

               The County’s Thirteenth Self-Assessment reported the number of days in which
    the total number of HOH and MOH available beds was equal to or more than the number
    of HOH and MOH inmates for the two randomly selected weeks in the Second Quarter of
    2021 under the old compliance measures:
                                              MOH                         HOH
                 TTCF                         100%                         0%
                 CRDF                          92%                         0%

            The County’s Augmented Thirteenth Augmented Self-Assessment reports results
    for the Third Quarter of 2021 under the Revised Compliance Measures. It reports that in
    the relevant weeks, “55% of inmates at TTCF waited fewer than 7 days for permanent
    mental health housing.” The County further reported that 95% of inmates received
    permanent mental health housing within 30 days. The County indicated that “the
    Department was not able to develop and submit data for CRDF but plans to do so in
    future periods.”




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            64.     Within six months of the Effective Date, the County and the Sheriff will
    develop a short-term plan addressing the following 12-month period, and within 12
    months of the Effective Date, the County and the Sheriff will develop a long-term plan
    addressing the following five-year period, to reasonably ensure the availability of
    licensed inpatient mental health care for prisoners in the Jails. The County and the
    Sheriff will begin implementation of each plan within 90 days of plan completion. These
    plans will describe the projected capacity required, strategies that will be used to obtain
    additional capacity if it is needed, and identify the resources necessary for
    implementation. Thereafter, the County and the Sheriff will review, and if necessary
    revise, these plans every 12 months.

           STATUS:         NON-COMPLIANCE

            The parties agreed on Revised Compliance Measures in 2021. Substantial
    Compliance requires the Department to develop a long-term plan that will address the
    availability of licensed inpatient mental health care for prisoners in the following five-
    year period; and provide an annual report describing the long-term plan and the steps
    taken to implement it, which must be deemed reasonable by the Monitor.

            The County’s Augmented Thirteenth Self-Assessment does not describe with
    specificity efforts by the County to “reasonably ensure the availability of licensed
    inpatient mental health care for prisoners in the Jails.” The County is therefore Non-
    Compliant with Provision 64 for the Thirteenth Reporting Period.




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           65 (Revised). Consistent with existing Sheriff’s Department policies, the County
    and the Sheriff will ensure that psychotropic medications are administered in a clinically
    appropriate manner to prevent misuse, hoarding, and overdose. The County will
    maintain electronic mental health alerts in prisoners’ electronic medical records that
    notify medical and mental health staff of a prisoner’s risk for hoarding medications.

           STATUS:         PARTIAL COMPLIANCE

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 65 (“Revised Paragraph 65”) as set
    forth above. They also agreed on Revised Compliance Measures. Under the Revised
    Compliance Measures, (1) the County’s Self-Assessments must set forth the (a) results of
    weekly medication audits documenting the visual observation of the administration of
    medication during the quarter; (b) unauthorized medications found as a result of cell
    searches during the reporting period; and (c) incidents involving confirmed prescription
    drug overdoses. Further, “the Monitor must conclude, after consulting with the Subject
    Matter Expert, that “psychotropic medications have been administered in a clinically
    appropriate manner 85% of the time.” Finally, “85% of the electronic medical records
    [must] contain the required alerts.”

            The County’s posted documents for the Second and Third Quarters of 2021
    indicate that it has “temporarily paused reporting for 65-1(a) in order to establish a more
    consistent and clinically appropriate process.” The County’s posted results reflect that
    the following unannounced searches were conducted in the Second Quarter of 2021:
    CRDF (8), TTCF (54), MCJ (241), NCCF (1,047), PDC North (55), PDC South (192),
    and PDC East (5). During these searches, the following medications and
    needles/syringes were found “that did not appear to be appropriately possessed by
    inmates”: CRDF (0 medications), TTCF (197 medications), MCJ (128 medications and
    40 syringes), NCCF (38 medications and 6 syringes), PDC North (8 medications and 1
    syringe), PDC South (1 syringe), PDC East (0 medications). The County also reported 1
    confirmed overdose and 2 unconfirmed in the Second Quarter of 2021.

            The County’s posted results reflect that the following unannounced searches were
    conducted in the Third Quarter of 2021: CRDF (8), TTCF (37), MCJ (127), NCCF
    (1,097), PDC North (95), PDC South (230), and PDC East (2). During these searches,
    the following medications and needles/syringes were found “that did not appear to be
    appropriately possessed by inmates”: CRDF (0 medications), TTCF (157 medications),
    MCJ (125 medications, 1 syringe, and 1 damaged inhaler), NCCF (3 medications and 3
    inhalers), PDC North (1 syringe), PDC South (0 medications), PDC East (0 medications).
    and 1 confirmed overdose and 5 unconfirmed in the Third Quarter of 2021.

           Regarding hoarding alerts in electronic medical records, the County’s
    posted documents indicate 75% compliance in the Second Quarter of 2021 and
    85% in the Third Quarter of 2021.




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            66 (Revised). Consistent with existing Correctional Health Services policies,
    prisoners with a serious mental illness who reside outside of mental health housing, will
    remain on an active mental health caseload regardless of whether they refuse
    medications. The County and the Sheriff will provide prisoners with a serious mental
    illness who reside outside of mental health housing with therapeutically appropriate
    individual monthly visits with a QMHP whether or not the prisoners are receiving or
    refusing psychotropic medications. The County and the Sheriff will provide medication
    support services to prisoners who (i) have a mental illness, (ii) reside outside of mental
    health housing and (iii) are prescribed psychotropic medications.

           STATUS:         PARTIAL COMPLIANCE

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 66 (“Revised Paragraph 66”) as set
    forth above. They also agreed on Revised Compliance Measures. Under the Revised
    Compliance Measures, Substantial Compliance requires that a) 85% of prisoners with a
    serious mental illness who resided outside of mental health housing were on an active
    mental health caseload; b) 85% of prisoners with a serious mental illness who resided
    outside of mental health housing are offered therapeutically appropriate structured mental
    health treatment and are seen by a QMHP at least once a month; and c) 85% of prisoners
    who resided outside of mental health housing and were prescribed psychotropic
    medications were offered medication support services.

           The County has long-struggled with compliance with Provision 66 and, indeed,
    was Non-Compliant in the Twelfth Reporting Period. However, Revised Provision 66 is
    narrower and focuses only on prisoners with serious mental illness who reside outside of
    mental health housing. The County’s posted results for Compliance Measures 66-5(a)
    and 66-5(b) indicate that the County only evaluated three patients for the Second Quarter
    of 2021 and three patients for the Third Quarter of 2021. The County should clarify the
    methodology it is using to identify this universe of patients in its next Self-Assessment.

            The County’s posted results indicate that for Compliance Measure 66-5(a), for the
    Second Quarter of 2021, 100% of patients “with serious mental illness residing outside of
    mental health housing were on an active mental health caseload,” which exceeds the 85%
    threshold. For Compliance Measure 66-5(b), 100% of patients “with a serious mental
    illness who reside outside of mental health housing were offered therapeutically
    appropriate structured mental health treatment and were seen by a QMHP at least once a
    month,” which also exceeds the 85% threshold. Regarding Compliance Measure 66-5(c),
    56% of patients “residing outside of mental health housing who were prescribed
    psychotropic medications during the randomly selected week were offered medication
    support services.”

             The County’s Augmented Thirteenth Self-Assessment reports that for Compliance
    Measure 66-5(a), for the Third Quarter of 2021, 100% of patients “with serious mental
    illness residing outside of mental health housing were on an active mental health
    caseload.” For Compliance Measure 66-5(b), 66% of patients “with a serious mental



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    illness who reside outside of mental health housing were offered therapeutically
    appropriate structured mental health treatment and were seen by a QMHP at least once a
    month.” Regarding Compliance Measure 66-5(c), 38% of patients “residing outside of
    mental health housing who were prescribed psychotropic medications during the
    randomly selected week were offered medication support services.”

            The Monitor’s mental health team reviewed the files for the universe of six
    patients evaluated by the County in connection with Compliance Measures 66-5(a) and
    66-5(b) for the Second and Third Quarters of 2021. The Team noted that “none of the
    patients had a specific, individualized treatment plan and none were provided treatment
    that would qualify as structured and ‘therapeutically appropriate.’” The County should
    consult with the Monitor’s mental health team before the date of its next self-assessment
    to ensure that it is using an appropriate methodology for evaluating this provision,
    particularly Compliance Measure 66-5(b).

           The County reports “significant staffing challenges in the area of psychiatry
    which have required the County to focus on higher acuity patients in mental health
    housing. The County is actively exploring solutions to these staffing needs.”




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          67.     Within three months of the Effective Date, the County and the Sheriff will
    implement policies for prisoners housed in High Observation Housing and Moderate
    Observation Housing that require:

             (a)      documentation of a prisoner’s refusal of psychotropic medication in the
                      prisoner’s electronic medical record;

             (b)      discussion of a prisoner’s refusal in treatment team meetings;

             (c)      the use of clinically appropriate interventions with such prisoners to
                      encourage medication compliance;

             (d)      consideration of the need to transfer non-compliant prisoners to higher
                      levels of mental health housing; and

             (e)      individualized consideration of the appropriateness of seeking court orders
                      for involuntary medication pursuant to the provisions of California
                      Welfare and Institutions Code sections 5332-5336 and/or California Penal
                      Code section 2603(a).

             STATUS:           PARTIAL COMPLIANCE

            Substantial Compliance requires the County to “review the electronic medical
    records of 25% of the prisoners in HOH and MOH who refused psychotropic medication
    during the quarter to verify that the records [of 85% of the prisoners] reflect the
    documentation and consideration of the matters required by the terms of Paragraph 67.”

           The County’s posted results reflect that in the Second Quarter of 2021, 56% of the
    records of prisoners who refused psychotropic medication “reflected the documentation
    and consideration of the matters required by Paragraph 67.” For the Third Quarter of
    2021, the County’s posted results reflected 67% compliance. 23

            In November 2021, Drs. Johnson, Vess, and Eargle conducted a qualitative
    review of the County’s compliance with Provision 67. They assessed, among other
    things, the “appropriateness of interventions to secure medication compliance in patients
    who refuse medications.” They reviewed 60 cases (36 HOH and 24 MOH). In 55% of
    cases, a QMHP “considered whether placement at a higher level of care was indicated.”
    They observed that due to inconsistencies in clinical notes, clinicians must more regularly
    document “when a higher level of care was considered and determined to be
    unnecessary.” When the clinical notes reflected that the clinician considered a higher
    level of care, “the determination was reasonable in 100% of cases.”


    23
      These results were posted on January 31, 2022, which was too late to be included in the draft of this
    Report circulated to the Parties. While the Monitor will generally not accept results posted so late in the
    reporting cycle, the Monitor has made an exception in this case given that the County has satisfactorily
    explained the extenuating circumstances that caused its delay.


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           Drs. Johnson, Vess, and Eargle found that “appropriate measures to secure
    medication compliance were undertaken in 80% of cases.” Clinicians considered FIP and
    involuntary medication in 76% of cases that included evidence of possible dangerousness
    or grave disability. Where such assessments were done, they were reasonable in 100% of
    cases.




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            68.      Within six months of the Effective Date, the County and the Sheriff will
    develop and implement a procedure for contraband searches on a regular, but staggered
    basis in all housing units. High Observation Housing cells will be visually inspected
    prior to initial housing of inmates with mental health issues.

             STATUS:           SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                               through December 31, 2016 (verified) at MCJ, NCCF,
                               PDC East, PDC South, and PDC North)

                               SUBSTANTIAL COMPLIANCE (as of January 1, 2017,
                               through December 31, 2017 (verified) at TTCF)

                               PARTIAL COMPLIANCE (at CRDF)

           Substantial Compliance requires that “85% of the housing units are searched for
    contraband at least once in the previous quarter; and 95% of the HOH units visually
    inspected prior to housing prisoners in these units.” Self-Assessments are to include a
    summary of searches conducted and a review of 25 randomly selected Checklist forms
    for HOH units to confirm that the units were visually inspected prior to initial housing of
    prisoners in these units.

           The County previously maintained Substantial Compliance for twelve consecutive
    months at TTCF, MCJ, NCCF, PDC East, PDC South, and PDC North. Pursuant to
    Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring at those facilities for Substantial Compliance with Paragraph 68 in the
    Thirteenth Reporting Period.

            The County’s posted results reflect that in the Second Quarter of 2021, 10% of the
    housing units at CRDF were searched at least once in the quarter, and 96% of the
    randomly selected HOH cells at CRDF were visually inspected before housing prisoners
    in these units. During the Third Quarter of 2021, 14% of the housing units at CRDF were
    searched at least once in the quarter, and 88% of the randomly selected HOH cells at
    CRDF were visually inspected before housing prisoners in these units. 24




    24
       The County’s Thirteenth Self-Assessment notes that the Department came near to, or exceeded, the
    relevant compliance thresholds for Paragraph 68 at CRDF in multiple prior Reporting Periods. It further
    notes that “its current challenges in this area relate to precautions put in place as a result of the COVID-19
    pandemic.” The County also notes that “regular module searches” were restored at CRDF in October 2021,
    thus the County’s results for Provision 68 should presumably improve in the next reporting period.


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            69.     Consistent with existing DMH policies regarding use of clinical restraints,
    the County and the Sheriff will use clinical restraints only in the Correctional Treatment
    Center and only with the approval of a licensed psychiatrist who has performed an
    individualized assessment and an appropriate Forensic Inpatient order. Use of clinical
    restraints in CTC will be documented in the prisoner’s electronic medical record. The
    documentation will include the basis for and duration of the use of clinical restraints and
    the performance and results of the medical welfare checks on restrained prisoners. When
    applying clinical restraints, custody staff will ensure a QMHP is present to document and
    monitor the condition of the prisoner being placed in clinical restraints.

            STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2018,
                            through June 30, 2019 (verified))

           Substantial Compliance requires the Department to review the electronic medical
    records of all prisoners placed in clinical restraints to verify that the restraints were used,
    approved, and documented, and that the results of medical welfare checks on restrained
    prisoners were also documented.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring at those facilities for Substantial Compliance with Paragraph 69 in
    the Thirteenth Reporting Period.




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           70.     Within three months of the Effective Date, the County and the Sheriff will
    have policies and procedures regarding the use of Security Restraints in HOH and MOH.
    Such policies will provide that:

             (a)      Security Restraints in these areas will not be used as an alternative to
                      mental health treatment and will be used only when necessary to insure
                      safety;

             (b)      Security Restraints will not be used to punish prisoners, but will be used
                      only when there is a threat or potential threat of physical harm, destruction
                      of property, or escape;

             (c)      Custody staff in HOH and MOH will consider a range of security restraint
                      devices and utilize the least restrictive option, for the least amount of time,
                      necessary to provide safety in these areas; and

             (d)      Whenever a prisoner is recalcitrant, as defined by Sheriff’s Department
                      policy, and appears to be in a mental health crisis, Custody staff will
                      request a sergeant and immediately refer the prisoner to a QMHP.

             STATUS:           PARTIAL COMPLIANCE

            The Monitor’s Eighth Report noted that “[t]he Mental Health Subject Matter
    Expert and DOJ have expressed concern about the Department’s Substantial Compliance
    with paragraph 70(c) if all inmates in HOH are routinely handcuffed when they are out of
    their cells ‘in a housing pod at the same time.’” 25

             As stated in the Monitor’s prior reports, to achieve Substantial Compliance with
    Paragraph 70, the County must demonstrate that “it is continuing to conduct individual
    assessments in weekly and daily meetings, expanding the use of Living Modules and FIP
    step-down pods (or other less restrictive housing arrangements), and articulating policies
    for these programs.” 26 Also, as previously expressed by DOJ, “the County must show
    that clinicians routinely make individualized assessments for all HOH inmates about
    whether [the special housing units] would be appropriate, and that inmates are not being
    denied access to those housing units due to space or capacity constraints.” 27

             The County’s Thirteenth Self-Assessment reports that

              Significantly, beginning in March 2019, the Department began a pilot
              program aimed to provide P3/HOH inmates with significant unrestrained
              out of cell time. The pilot alternates out of cell time between inmates who
              are in suicide gowns and those who are allowed clothes so that inmates
              do not have access to property which may allow them to self-harm. Prior

    25
       See Monitor's Eighth Report, p. 90.
    26
       See Monitor’s Eighth Report, p. 91; Ninth Report, p. 96.
    27
       See Monitor's Ninth Report, p. 96.


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            to COVID-19, this pilot program was available to inmates in five HOH
            pods at TTCF, and three HOH pods at CRDF. This program was
            temporarily suspended at TTCF during COVID-19 due to social
            distancing requirements, changes to housing modules due to quarantines
            and isolation, and staffing changes. CRDF was able to keep its
            unrestrained out of cell time pilot operating during COVID-19. TTCF
            plans to resume these activities as soon as it is able to safely do so.

            As noted in the Monitor’s Ninth Report, the Monitor believes, “with additional
    CHS staffing, the County could expand the Living and LIFE Modules and the Step-down
    units to provide enhanced mental health care treatment to additional HOH inmates who
    currently satisfy the criteria for housing in those specialized units.”

           The County’s Twelfth Self-Assessment reported

           Prior to COVID-19, the Living Module concept operated in six pods at
           TTCF and two pods at CRDF. It has been reduced to two pods at TTCF in
           part because of population reduction and COVID-19-related quarantines.
           Inmates in the Step-down modules and HOPE Dorm are not restrained
           when out of cell. There are three FIP Step-Down pods at TTCF and
           CRDF.




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            71.      The County and the Sheriff will ensure that any prisoner subjected to
    clinical restraints in response to a mental health crisis receives therapeutic services to
    remediate any effects from the episode(s) of restraint.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                           June 30, 2017 (verified))

           Substantial Compliance requires the Department to review the electronic medical
    records of all prisoners placed in clinical restraints to verify that the prisoners received
    therapeutic services as required by Paragraph 71.

    Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not subject
    to monitoring for Substantial Compliance with Paragraph 71 in the Thirteenth Reporting
    Period.




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            72.      The County and the Sheriff will develop and implement policies and
    procedures that ensure that incidents involving suicide and serious self-injurious behavior
    are reported and reviewed to determine: (a) whether staff engaged in any violations of
    policies, rules, or laws; and (b) whether any improvements to policy, training, operations,
    treatment programs, or facilities are warranted. These policies and procedures will define
    terms clearly and consistently to ensure that incidents are reported and tracked accurately
    by DMH and the Sheriff’s Department.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1,
                          2017, through December 31, 2017)

           Substantial Compliance requires the Self-Assessments to report on (a) suicide
    review meetings and (b) CIRC meetings that review incidents of serious self-injurious
    behavior in the reporting period.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 72 in the Thirteenth
    Reporting Period.




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            73.     Depending on the level of severity of an incident involving a prisoner who
    threatens or exhibits self-injurious behavior, a custody staff member will prepare a
    detailed report (Behavioral Observation and Mental Health Referral Form, Inmate Injury
    Report, and/or Incident Report) that includes information from individuals who were
    involved in or witnessed the incident as soon as practicable, but no later than the end of
    shift. The report will include a description of the events surrounding the incident and the
    steps taken in response to the incident. The report will also include the date and time that
    the report was completed and the names of any witnesses. The Sheriff’s Department will
    immediately notify the County Office of Inspector General of all apparent or suspected
    suicides occurring at the Jails.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                           through September 30, 2018 (verified))

            Substantial Compliance requires the Department to review quarterly a random
    sample of reports of any threats or exhibitions of self-injurious behavior to verify that the
    reports have the information required by Paragraph 73; and to provide the Monitor with
    the notifications to the Inspector General of all incidents involving an apparent or
    suspected suicide during the reporting period.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 73 in the Thirteenth
    Reporting Period.




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            74.     The Sheriff’s Department will ensure that there is a timely, thorough, and
    objective law enforcement investigation of any suicide that occurs in the Jails.
    Investigations shall include recorded interviews of persons involved in, or who
    witnessed, the incident, including other prisoners. Sheriff’s Department personnel who
    are investigating a prisoner suicide or suspected suicide at the Jails will ensure the
    preservation of all evidence, including physical evidence, relevant witness statements,
    reports, videos, and photographs.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of September 1, 2016,
                          through December 31, 2017)

            Substantial Compliance requires the Department to provide the Monitor with an
    Executive Suicide Death Review reflecting the results of the Department’s investigation
    of any suicide in the Jails within six months of the suicide. The review must reflect steps
    taken to preserve all of the evidence; and list the interviews of persons involved in, or
    who witnessed, the incident, and whether the interviews were recorded.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 74 in the Thirteenth
    Reporting Period.




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           75.    Within three months of the Effective Date, the County and the Sheriff will
    review every suicide attempt that occurs in the Jails as follows:

           (a)    Within two working days, DMH staff will review the incident, the
                  prisoner’s mental health status known at the time of the incident, the need
                  for immediate corrective action if any, and determine the level of suicide
                  attempt pursuant to the Centers for Disease Control and Prevention’s Risk
                  Rating Scale;

           (b)    Within 30 working days, and only for those incidents determined to be a
                  serious suicide attempt by DMH staff after the review described in
                  subsection (a) above, management and command-level personnel from
                  DMH and the Sheriff’s Department (including Custody Division and
                  Medical Services Bureau) will meet to review relevant information known
                  at that time, including the events preceding and following the incident, the
                  prisoner’s incarceration, mental health, and health history, the status of
                  any corrective actions taken, and the need for additional corrective action
                  if necessary;

           (c)    The County and the Sheriff will document the findings that result from the
                  review of serious suicide attempts described in subsection (b) above; and

           (d)    The County and the Sheriff will ensure that information for all suicide
                  attempts is input into a database for tracking and statistical analysis.




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           STATUS (75):           SUBSTANTIAL COMPLIANCE (as of October 1,
                                  2017, through September 30, 2018 (verified))

            Substantial Compliance requires (a) DMH to review documentation of randomly
    selected suicide attempts during the previous quarter to verify that the prisoner’s mental
    health status and need for immediate corrective action were considered timely by the
    DMH staff and that the staff determined whether the suicide attempt was serious; (b) that
    the Department and DMH reviewed the relevant information known at that time and the
    status of any corrective actions taken, and they considered the need for additional
    corrective action if necessary; and (c) that the information is reflected in the
    Department’s database for tracking and statistical analysis.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 75 in the Thirteenth
    Reporting Period.




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            76.     The County and the Sheriff will review every apparent or suspected
    suicide that occurs in the Jails as follows:

           (a)    Within no more than two working days, management and command-level
                  personnel from DMH and the Sheriff’s Department (including Custody
                  Division and Medical Services Bureau) will meet to review and discuss
                  the suicide, the prisoner’s mental health status known at the time of the
                  suicide, and the need for immediate corrective or preventive action if any;

           (b)    Within seven working days, and again within 30 working days,
                  management and command-level personnel from DMH and the Sheriff’s
                  Department (including Custody Division and Medical Services Bureau)
                  will meet to review relevant information known at that time, including the
                  events preceding and following the suicide, the prisoner’s incarceration,
                  mental health, and health history, the status of any corrective or preventive
                  actions taken, and the need for additional corrective or preventive action if
                  necessary; and

           (c)    Within six months of the suicide, the County and the Sheriff will prepare a
                  final written report regarding the suicide. The report will include:

                  (i)    time and dated incident reports and any supplemental reports with
                         the same Uniform Reference Number (URN) from custody staff
                         who were directly involved in and/or witnessed the incident;
                  (ii)   a timeline regarding the discovery of the prisoner and any
                         responsive actions or medical interventions;
                  (iii) copies of a representative sample of material video recordings or
                         photographs, to the extent that inclusion of such items does not
                         interfere with any criminal investigation;
                  (iv)   a reference to, or reports if available, from the Sheriff’s
                         Department Homicide Bureau;
                  (v)    reference to the Internal Affairs Bureau or other personnel
                         investigations, if any, and findings, if any;
                  (vi)   a Coroner’s report, if it is available at the time of the final report,
                         and if it is not available, a summary of efforts made to obtain the
                         report;
                  (vii) a summary of relevant information discussed at the prior review
                         meetings, or otherwise known at the time of the final report,
                         including analysis of housing or classification issues if relevant;
                  (viii) a clinical mortality review;
                  (ix)   a Psychological Autopsy utilizing the National Commission on
                         Correctional Health Care’s standards; and
                  (x)    a summary of corrective actions taken and recommendations
                         regarding additional corrective actions if any are needed.




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           STATUS (76):          SUBSTANTIAL COMPLIANCE (as of
                                 September 1, 2016, through December 31, 2017)

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 76 in the Thirteenth
    Reporting Period. Nonetheless, the County continued to conduct the reviews required by
    Paragraph 76 for the suicides that occurred during this period and invited the Monitor to
    attend these meetings.




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           77.     The County and the Sheriff will create a specialized unit to oversee,
    monitor, and audit the County’s jail suicide prevention program in coordination with the
    Department of Mental Health. The Unit will be headed by a Captain, or another Sheriff’s
    Department official of appropriate rank, who reports to the Assistant Sheriff for Custody
    Operations through the chain of command. The Unit will be responsible for:

           (a)    Ensuring the timely and thorough administrative review of suicides and
                  serious suicide attempts in the Jails as described in this Agreement;

           (b)    Identifying patterns and trends of suicides and serious suicide attempts in
                  the Jails, keeping centralized records and inputting data into a unit
                  database for statistical analysis, trends, and corrective action, if necessary;

           (c)    Ensuring that corrective actions are taken to mitigate suicide risks at both
                  the location of occurrence and throughout the concerned system by
                  providing, or obtaining where appropriate, technical assistance to other
                  administrative units within the Custody Division when such assistance is
                  needed to address suicide-risk issues;

           (d)    Analyzing staffing, personnel/disciplinary, prisoner classification, and
                  mental health service delivery issues as they relate to suicides and serious
                  suicide attempts to identify the need for corrective action where
                  appropriate; and recommend remedial measures, including policy
                  revisions, re-training, or staff discipline, to address the deficiencies and
                  ensure implementation; and

           (e)    Participating in meetings with DMH to develop, implement, and track
                  corrective action plans addressing recommendations of the quality
                  improvement program.




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           STATUS (77):           PARTIAL COMPLIANCE

             On January 13, 2022, the County posted the Correctional Health Services and
    Custody Compliance & Sustainability Bureau Combined Semi-Annual Report on Quality
    Improvement and Suicide Prevention Efforts – Quarter 2 2021 & Quarter 3 2021
    (“Combined Suicide Prevention Report”), which relates to Paragraphs 60, 61, 62, 72, and
    77. The Combined Suicide Prevention Report sets forth aggregate data for the 28
    suicides that occurred between 2015 and the end of the Third Quarter of 2021, and 149
    critical incidents that occurred between 2016 and the end of the Third Quarter of 2021,
    broken down by the subparts of Paragraph 61(a). The report also includes case-specific
    discussions of the three suicides that occurred during the Second Quarter of 2021 and
    Third Quarter of 2021 at county jail facilities.

             The Monitor analyzed the County’s Combined Suicide Prevention Report in
    consultation with Drs. Johnson, Vess, and Eargle. Our view is that the Department has
    continued to make progress in its Quality Improvement efforts. In terms of specific
    results, the Combined Suicide Prevention Report reflects that the Department is now
    complying with several subparts of Provision 77, including ensuring the timely and
    thorough administrative review of suicides and serious suicide attempts in the Jails
    (77(a)); identifying patterns and trends in suicides and serious suicide attempts and
    keeping centralized records (77(b)); analyzing staffing, personnel/disciplinary, prisoner
    classification, and mental health service delivery issues as they relate to suicides and
    serious suicide attempts to identify the need for corrective action where appropriate
    (77(d)); and participating in meetings with DMH to develop, implement, and track
    corrective action plans addressing recommendations of the quality improvement program
    (77(e)).

            The greatest challenge relates to Provision 77(c). The County has gathered and
    analyzed aggregate data related to suicide attempts and SDV. For example, the County
    has reported extensively on demographic data, location, method, prior attempts, days in
    custody, security level, single cell status, charges, medication, mental health and inmate
    P-level, among other variables.

            Provision 77(c) requires the Department to ensure that “corrective actions are
    taken to mitigate suicide risks at both the location of occurrence and throughout the
    concerned system by providing, or obtaining where appropriate, technical assistance to
    other administrative units within the Custody Division.” In the section on “Technical
    Issues Provided to or Obtained for Other Administrative Units within the Custody
    Division to Address Suicide Risk Issues,” the County indicates that it provided therapy
    dogs within the Department. But it does not indicate how it plans to address other suicide
    risks that are apparent from recent suicides. For example, the County notes that “hanging
    remains the method most frequently used in suicides.” In December 2021, the Monitor
    toured and inspected Palmdale Station, which was the site of two relatively recent inmate
    suicides that both involved hanging from a common ligature point. Following the



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    Monitor’s inspection, the Department removed this ligature point from two of the cells at
    Palmdale Station. Yet, the Monitor understands that this ligature point is in use at other
    of the Department’s station jails. The Consolidated Suicide Prevention Report does not
    provide any update about attempts to address this known suicide risk Department-wide.
    Using information from death reviews and analysis of aggregate self-harm data and
    articulating how known suicide risks are being addressed throughout the Department will
    be required to attain Substantial Compliance with Provision 77.




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           78.     The County and the Sheriff will maintain a county-level Suicide
    Prevention Advisory Committee that will be open to representatives from the Sheriff’s
    Department Custody Division, Court Services, Custody Support Services, and Medical
    Services Bureau; the Department of Mental Health; the Public Defender’s Office; County
    Counsel’s Office; the Office of the Inspector General; and the Department of Mental
    Health Patients’ Rights Office. The Suicide Prevention Advisory Committee will meet
    twice per year and will serve as an advisory body to address system issues and
    recommend coordinated approaches to suicide prevention in the Jails.

           STATUS:       SUBSTANTIAL COMPLIANCE (as of May 11, 2016, through
                         May 18, 2017)

          Substantial Compliance requires (1) the Committee to meet twice per year and (2)
    “recommend coordinated approaches to suicide prevention in the Jails.”

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 78 in the Thirteenth
    Reporting Period. Nevertheless, the County has continued to hold Bi-Annual Suicide
    Prevention meetings through the last reporting period, which the Monitor endeavors to
    attend.




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           79 (Revised). (a)      Unless clinically contraindicated, the County and the
                                  Sheriff will offer prisoners in mental health housing:

                                  (i)    therapeutically appropriate individual visits with a
                                         QMHP;

                                  (ii)   therapeutically appropriate group programming
                                         conducted by a QMHP or other appropriate
                                         provider that does not exceed 90 minutes per
                                         session;

                          (b)     The date, location, topic, attendees, and provider of
                                  programming or therapy sessions will be documented. A
                                  clinical supervisor will review documentation of group
                                  sessions on a monthly basis.

           STATUS:        NON-COMPLIANCE

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 79 (“Revised Paragraph 79”) as set
    forth above. They also agreed on Revised Compliance Measures. Under the Revised
    Compliance Measures, Substantial Compliance requires the Department to maintain
    records of therapeutically appropriate individual visits and group programming, and the
    names of the clinical supervisors who reviewed such records and the conclusions of their
    reviews. It also requires that 95% of the prisoners in HOH are offered therapeutically
    appropriate structured mental health treatment, including at least a weekly QMHP visit
    and group programming, and that 90% of prisoners in MOH are provided visits by a
    QMHP at least once a month as well as therapeutically appropriate structured mental
    health treatment.

           The County’s Thirteenth Self-Assessment reports that in the Second Quarter of
    2021, the names and conclusions of all supervisors who reviewed documentation of
    group sessions were recorded. The County also reports that “for Measure 79-4(b), which
    requires that 95% of HOH patients be offered an individual visit by a QMHP and weekly
    group programming, the County achieved 16% compliance.” “For Measure 79-4(c),
    which requires that 90% of patients in MOH be offered individual monthly visits by a
    QMHP and therapeutically appropriate structured treatment, the County achieved 11%
    compliance.”

           The County’s Augmented Thirteenth Self-Assessment reports that the County was
    unable to submit results for the Third Quarter of 2021 as “the timeline for that submission
    has been significantly impacted by staff absences related to the Covid-19 pandemic.”




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           80.     (a)    The County and the Sheriff will continue to make best efforts to
    provide appropriate out-of-cell time to all prisoners with serious mental illness, absent
    exceptional circumstances, and unless individually clinically contraindicated and
    documented in the prisoner’s electronic medical record. To implement this requirement,
    the County and the Sheriff will follow the schedule below:

                   (i)     By no later than six months after the Effective Date, will offer
                           25% of the prisoners in HOH ten hours of unstructured out-of-cell
                           recreational time and ten hours of structured therapeutic or
                           programmatic time per week;

                   (ii)    By no later than 12 months after the Effective Date, will offer
                           50% of the prisoners in HOH ten hours of unstructured out-of-cell
                           recreational time and ten hours of structured therapeutic or
                           programmatic time per week; and

                   (iii)   By no later than 18 months after the Effective Date, will offer
                           100% of the prisoners in HOH ten hours of unstructured out-of-
                           cell recreational time and ten hours of structured therapeutic or
                           programmatic time per week.

            (b)     No later than six months after the Effective Date, the County and the
    Sheriff will record at the end of each day which prisoners in HOH, if any, refused to
    leave their cells that day. That data will be presented and discussed with DMH staff at
    the daily meeting on the following Normal business workday. The data will also be
    provided to the specialized unit described in Paragraph 77 and to DMH’s quality
    improvement program to analyze the data for any trends and to implement any corrective
    action(s) deemed necessary to maximize out-of-cell time opportunities and avoid
    unnecessary isolation.




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            STATUS (80):               NON-COMPLIANCE

            Paragraph 80 requires that, “no later than 18 months after the Effective Date [July
    1, 2015],” 100% of the prisoners in HOH receive “ten hours of unstructured out-of-cell
    recreational time and ten hours of structured therapeutic or programmatic time per
    week.” The parties have agreed that up to five hours of the structured time can consist of
    education or work programs, but at least five hours of the time must be therapeutic.

            The County’s Thirteenth Self-Assessment reports that in the Second Quarter of
    2021, 99% of the HOH prisoners at CRDF and 91% of the HOH prisoners at TTCF were
    offered “unstructured out-of-cell time by Custody staff.” The County’s Augmented
    Thirteenth Self-Assessment reports that in the Third Quarter of 2021, 91% and 93% of
    HOH prisoners were offered unstructured out-of-cell time at CRDF and TTCF,
    respectively. 28

            As in the past, County’s Thirteenth Self-Assessment does not reflect results for
    “structured therapeutic or programming time.” This data is essential to evaluating the
    Department’s compliance with Paragraph 80. The County previously reported that due to
    the COVID-19 pandemic, “CHS temporarily suspended most group mental health
    treatment, which provides a significant amount of the structured out-of-cell time provided
    inmates in HOH.”




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      The Mental Health Subject Matter Expert and the clinicians previously assessed the accuracy of the
    County’s reporting of the out-of-cell time offered to inmates by comparing out-of-cell time records to
    videos of the HOH units over the same time periods, and they found the County’s data to be “highly
    unreliable.” The Monitor and the Mental Health Subject Matter viewed this as a “very serious problem, . . .
    both in terms of the accuracy of the Department’s records and the conditions in HOH units.”


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            81.     Except as specifically set forth in Paragraphs 18-20 of this Agreement, and
    except as specifically identified below, the County and the Sheriff will implement the
    following paragraphs of the Implementation Plan in Rosas at all Jails facilities, including
    the Pitchess Detention Center and the Century Regional Detention Facility, by no later
    than the dates set forth in the Implementation Plan or as revised by the Rosas Monitoring
    Panel: Paragraphs 2.2-2.13 (use of force policies and practices); 3.1-3.6 (training and
    professional development); 4.1-4.10 (use of force on mentally ill prisoners); 5.1-5.3 (data
    tracking and reporting of force); 6.1-6.20 (prisoner grievances and complaints); 7.1-7.3
    (prisoner supervision); 8.1-8.3 (anti-retaliation provisions); 9.1-9.3 (security practices);
    10.1-10.2 (management presence in housing units); 11.1 (management review of force);
    12.1-12.5 (force investigations, with the training requirement of paragraph 12.1 to be
    completed by December 31, 2016); 13.1-13.2 (use of force reviews and staff discipline);
    14.1-14.2 (criminal referrals and external review); 15.1-15.7 (documentation and
    recording of force); 16.1-16.3 (health care assessments); 17.1-17.10 (use of restraints);
    18.1-18.2 (adequate staffing); 19.1-19.3 (early warning system); 20.1-20.3 (planned uses
    of force); and 21.1 (organizational culture).

           STATUS:         PARTIAL COMPLIANCE

            Because Paragraph 81 of the Settlement Agreement incorporates 100 provisions
    in the Implementation Plan adopted in the Rosas case, the parties agreed in the
    Compliance Measures adopted in this case that “Substantial Compliance with respect to
    the substance of the policies required by the Rosas Implementation Plan would be
    determined by the Rosas Monitors.” With the exception of the Early Warning System
    required by Section 19 of the plan, all of the required policies were approved by the
    Rosas Monitors by the Second Reporting Period in this case, and the Early Warning
    System was approved in the Seventh Reporting Period.

            The Compliance Measures in this case then provide that “[o]nce the policies have
    been approved by the Rosas Monitors, the Monitor and Subject Matter Expert will
    confirm and assess the implementation of these policies in the [DOJ facilities].” In
    assessing the Department’s compliance with Paragraph 81, the Monitor has grouped the
    100 provisions into seven categories and, with input from the Subject Matter Experts, has
    assessed Department’s compliance on a category-by-category basis. With the exception
    of the Training category, which is assessed when certain percentages are reached, the
    Department will no longer be subject to monitoring for the provisions in a particular
    category once the Monitor has determined that it has achieved and maintained for twelve
    consecutive months Substantial Compliance with the intent and purpose of the overall
    category. The Department will no longer be subject to monitoring for compliance with
    Paragraph 81 once it has achieved and maintained for twelve consecutive months
    Substantial Compliance with each of the categories.

           Training (Partial Compliance)

            Paragraphs 3.1-3.6, 4.6-4.9, and 12.1 of the Rosas Implementation Plan reflect
    training requirements on use of force, ethics, dealing with mentally ill inmates, and



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    investigations of force incidents. The curriculum and lesson plans to implement these
    training requirements have been approved by the Rosas Monitors.

             The County’s Thirteenth Self-Assessment reports that the Department met the
    Substantial Compliance thresholds for the following Training provisions at the DOJ
    facilities during the Second Quarter of 2021: 3.3, 3.5, 4.8, 4.9, and 12.1. 29 The results for
    3.3, 4.8, 4.9, and 12.1 have been verified by the Monitor’s auditors. The County reports
    that the Department did not reach the threshold for Substantial Compliance with 3.6
    (performance reviews for probationary staff members).

            The County’s Augmented Thirteenth Self-Assessment reports that the Department
    met the Substantial Compliance thresholds for the following Training provisions at the
    DOJ facilities during the Third Quarter of 2021: 3.3, 3.5, 4.8, and 4.9. 30 The County’s
    posted results reflect the County maintained Substantial Compliance with 12.1. The
    County’s posted results for 3.3, 4.8, and 4.9 reflect that there were no applicable
    personnel for these training provisions. The results for 3.3, 4.8, 4.9, and 12.1 have been
    verified by the Monitor’s auditors.

             Use of Force (Partial Compliance)

            During the Thirteenth Reporting Period, the Monitor and the DOJ reviewed and
    provided feedback about several Departmental use of force policies. This includes
    policies that address Prohibited Force (June 21, 2021); Planned Use of Force, Inmate
    Extraction Procedures, and Pregnant Inmates (October 31, 2021); and Electronic
    Immobilization Devices (November 19, 2021). The Monitor and Use of Force Subject
    Matter Expert Susan McCampbell also toured the relevant facilities in December 2021 to
    speak with inmates and staff regarding use of force and other matters.

            According to data provided by the Department, uses of force decreased at some of
    the DOJ facilities between 2020 and 2021 and increased at others. Of particular
    significance, uses of force decreased at CRDF by 11% and increased at NCCF by 59%.
    The Monitor is in discussions with the Department to determine the reasons for the
    significant rise in use of force incidents at NCCF. A majority of the use of force
    incidents at the DOJ Facilities in 2021 were Category 1 incidents, such as takedowns,
    resisted control holds, or use of OC spray that resulted in no injury. 31

             The Monitor and Use of Force Expert Susan McCampbell reviewed 25

    29
       Because Paragraph 81 incorporates all 104 provisions of the Rosas Implementation Plan in a single
    provision, the Monitor agreed to the use of random samples in some cases instead of requiring assessments
    of all personnel or incidents, which the Monitor believes would be unduly burdensome for the Department.
    30
       The County has previously reported that “assessments for certain Provisions are submitted during the
    Fourth Quarter, covering the entire year. These Provisions include: 3.1(a) (more than 90% of personnel
    received initial training); 3.1(b) (more than 90% of retained personnel received required refreshers); 3.2(a)
    (more than 90% of personnel received initial training); 3.2(b) (more than 90% of retained personnel
    received required refreshers); 4.6 (DeVRT initial training and refreshers); 4.7 (DeVRT initial training and
    refreshers).” Thus, no results were reported for these provisions for the Second or Third Quarters of 2021.
    31
       See CDM 7-06-000.00, Use of Force Reporting Procedures.


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    completed force packages for the DOJ facilities during this Reporting Period. As a result
    of objections by the plaintiffs in the Rosas case, the Rosas Monitors revised their
    approach to assessing the Department’s compliance with the use, reporting and
    investigation of force provisions of the Implementation Plan. Under the revised
    approach, the Rosas Monitors do not determine the percentage of cases in which the
    Department’s use of force was reasonable overall, but instead assess the Department’s
    compliance with the specific provision on the use, reporting, and investigation of force
    provisions of the Implementation Plan. To maintain consistency across all of the jail
    facilities, the Monitor has adopted the same approach in the DOJ case.

            In the uses of force reviewed during the Thirteenth Monitoring Period, the
    Monitor determined that the Department was not in compliance with Paragraph 2.2.
    Regarding Paragraph 2.2(a) (force must be used as a last resort), Department members
    too readily engaged in uses of force before meaningful attempts were made to de-escalate
    using time, distance, the presence of a supervisor or mental health professional, and
    verbal attempts at persuasion. A key advantage of the physical plant of many jail housing
    areas is that custody personnel are able to close the door and summon supervisors or
    mental health staff rather than entering a cell with an agitated inmate and initiating a use
    of force event. The Department should ensure that supervisors and deputies are prepared
    to do so, when possible. 32

           The Monitor also determined that the Department was not in compliance with
    Paragraph 4.1, which requires that a mental health professional be summoned to help
    resolve a situation without force. The Department was also not in compliance with
    Paragraph 9.2, which requires that uninvolved staff members be the ones to escort an
    inmate after a use of force event.

             Reporting and Investigation of Force (Partial Compliance)

            During the Thirteenth Reporting Period, the Monitor identified several key issues
    related to the Department’s reporting and investigation of force. First, as in the past, the
    depth and quality of the command reviews of force incidents varied significantly.
    Sometimes Commanders made note of discrepancies among Deputy use of force reports
    or between reports and available video, or flagged other issues that may have given rise
    to the need to use force. Yet, important, sometimes self-evident, issues were not always
    identified. Often, the de-escalation attempts made by deputies were not specifically
    described in the relevant reports. Command reviewers should note those issues and
    require deputies to describe with particularity the attempts they made to de-escalate

    32
      For example, in one incident reviewed during the Thirteenth Reporting Period, an agitated 120-pound
    female inmate was to be transferred to HOH housing. When two deputies entered her cell, she threw a sock
    and a bible, striking one deputy in the face. The deputies attempted to restrain her, she resisted, and they
    eventually took her to the ground. She sustained a broken arm during the struggle. The deputies could
    have retreated from the cell and summoned a supervisor, mental health staff, and a video camera operator,
    rather than immediately physically engaging her. The command review of the incident was a one-page
    document that stated simply that “the force and tactics were within Department policy,” without explaining
    the reasoning for that conclusion or exploring why the deputies did not back away, close the door, and wait
    for additional support before further engaging the patient.


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    incidents without force, when applicable.

           Similarly, Commanders should evaluate not only the specific moments in which
    force was being used, but also the circumstances that gave rise to the need to use force,
    including “unexplained tactical decisions.” Paragraph 5.3.

            As has been noted in prior reports, the administrative review process for use of
    force incidents has been significantly delayed. However, in the Thirteenth Reporting
    Period, the Monitor noted that many force incidents completed command review within
    six or eight months, rather than twelve or more. This is a positive trend that the
    Department should endeavor to build upon.

            Finally, when supervisors identify issues in a use of force or use of force report,
    they often report that the employee was “counseled” and “receptive.” It is not clear what
    kind of follow up is contemplated, who is responsible for it, by what date, and what
    measures will determine whether the counseling is successful. Only occasionally did the
    command reviews note that a deputy had been sent for specific kinds of retraining.

             Regarding the Department’s quantitative results on the specific provisions, For
    the Second Quarter of 2021, the County reported Substantial Compliance with the
    following provisions: 5.1 (timely database entry of force incidents); 8.3 (timely review of
    retaliation grievances); 11.1 (timely review of force packages by CFRT for potential
    employee discipline); 13.1 (zero tolerance and related investigations); 13.2 (notifications
    to OIG required by findings in 13.1); 14.1 (timely unit commander review re: prosecution
    for inmate assaults on staff); 14.2 (timely referral of criminal inmate conduct to DA's
    Office).

            For the Third Quarter of 2021, the County’s Thirteenth Self-Assessment reports
    Substantial Compliance with the following provisions: 5.1 (timely database entry of force
    incidents); 8.3 (timely review of retaliation grievances); 11.1 (timely review of force
    packages by CFRT for potential employee discipline); 14.1 (timely unit commander
    review re: prosecution for inmate assaults on staff); and 14.2 (timely referral of criminal
    inmate conduct to DA's Office). The County posted results reflecting Substantial
    Compliance with Provisions 13.1 (zero tolerance and related investigations); and 13.2
    (notifications to OIG required by findings in 13.1).

           Grievances (Partial Compliance)

            The County’s Thirteenth Self-Assessment reports that in the Second Quarter of
    2021, the Department achieved Substantial Compliance with the following grievance
    provisions at the DOJ facilities: 6.4 (proper handling of force-related grievances), 6.5
    (proper handling of harassment and retaliation grievances); 6.7 (appropriate handling of
    grievances marked “emergency”); 6.8 (inmate notification of downgraded grievances);
    6.9 (proper handling of emergency grievances); 6.11 (review of complaints re: inmate
    grievance process); 6.12 (proper database entry of inmate grievances); 6.13 (proper
    tracking of handling of inmate grievances); 6.14 (monthly reports of grievance tracking);



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    6.15 (evaluation of trends in inmate grievance handling); 6.17 (time limit for filing force-
    related grievances); 6.19 (timely responses to inmate grievances); 6.20 (proper handling
    of inmate appeals); 7.1 (conflict resolution for inmate grievances); 7.2 (timely
    notification of grievance investigation results); 7.3 (town hall meetings); and 8.1
    (reporting of retaliation grievances).

           The Department was not in Substantial Compliance with 6.10 (timely collection
    of inmate grievances) and 6.18 (proper handling of PREA grievances).

           The County’s posted results reflect that in the Third Quarter of 2021, the
    Department achieved Substantial Compliance with the following grievance provisions at
    the DOJ facilities: 6.5 (proper handling of harassment and retaliation grievances); 6.8
    (inmate notification of downgraded grievances); 6.9 (proper handling of emergency
    grievances); 6.10 (timely collection of inmate grievances); 6.11 (review of complaints re:
    inmate grievance process); 6.13 (proper tracking of handling of inmate grievances); 6.14
    (monthly reports of grievance tracking); 6.15 (evaluation of trends in inmate grievance
    handling); 6.17 (time limit for filing force-related grievances); 6.18 (proper handling of
    PREA grievances); 6.20 (proper handling of inmate appeals); 7.1 (conflict resolution for
    inmate grievances);7.3 (town hall meetings); and 8.1 (reporting of retaliation grievances).

            The Department was not in Substantial Compliance with 6.4 (proper handling of
    force-related grievances); 6.7 (appropriate handling of grievances marked “emergency”);
    6.12 (proper database entry of inmate grievances); 6.19 (timely responses to inmate
    grievances); 7.2 (timely notification of grievance investigation results).

           Management and Administration (Substantial Compliance as of October 1,
                                          2020 through September 30, 2021)

             The Department’s posted documents reflect that senior managers from the rank of
    Unit Commanders and above toured and inspected all of the DOJ facilities during the
    Second Quarter of 2021 and Third Quarter of 2021, as required by applicable Compliance
    Measures for Paragraph 10.1, and that they were documented in electronic records or
    visitor logs, as is required by Paragraph 10.2 The Department’s posted results reflect that
    the Department achieved Substantial Compliance with Paragraphs 18.1 and 18.2. The
    posted documents reflect that no Department members were transferred to Custody as a
    sanction for misconduct or a policy violation in either quarter, as required by Paragraph
    21.1.

           Security Restraints (Partial Compliance)

             Security Restraints are subject to the provisions in Section 17 of the Rosas Plan.
    It is the Monitor’s understanding that the County and the Department do not use “multi-
    point restraints,” which are subject to Paragraphs 17.6 through 17.9 of the plan, at any of
    the County’s jail facilities. The Monitor reviewed the Safety Chair Logs and Fixed
    Restraint Logs for both quarters, which reflect that the facilities that produced such logs
    are complying with the requirements of Paragraphs 17.3 and 17.4 of the Rosas Plan.



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           The Department posted logs of all of the involuntary medications administered in
    the Second Quarter of 2021 and Third Quarters of 2021. The records reflect that all of
    the medications were administered per court orders to restore the competency of those
    deemed incompetent to stand trial and none were solely for security purposes in
    compliance with Paragraph 17.10 of the Rosas Plan.

            The Monitor noted in the Eleventh Report that the Wrap policy had not been yet
    finalized. Further

           During the Eleventh Reporting Period, the Department produced, and the
           Monitor reviewed, 24 completed force packages for the DOJ facilities.
           Six of those packages included applications of the WRAP restraint. In a
           number of those incidents, the specific reason for the application of the
           WRAP was not articulated in the paperwork associated with the use of
           force, nor was a clear reason apparent from the accompanying evidence.
           Further, the duration for which the inmate was left in the WRAP restraint
           was also not generally noted in the documents accompanying each use of
           the WRAP. These issues should be corrected. Further, the Monitor has
           requested aggregated data documenting the frequency with which the
           WRAP restraint has been used, the circumstances prompting its use, and
           the duration (if known). The Department should make such data available
           before or concurrent with its Twelfth Self-Assessment.

           On April 9, 2021, after consultation with Use of Force Subject Matter Expert
    Susan McCampbell, the Monitor provided comments on the Department’s draft WRAP
    Restraint Policy. The DOJ also provided comments on this date. On June 23, 2021, the
    Department responded to the DOJ’s comments and on July 6, 2021, the Department
    responded to the Monitor’s comments. On August 5, 2021, the DOJ provided additional
    feedback on the draft policy. The policy remains outstanding.

            The Monitor and Subject Matter Expert reviewed 25 completed force packages
    for the DOJ facilities during this Reporting Period. A large number of incidents involved
    the use of the WRAP restraint. In the majority of these incidents, no specific justification
    was provided in use of force documentation regarding the reason for the application of
    the WRAP. When a justification was provided, it was often extremely general. To help
    avoid risks of overuse, supervisors should be trained to describe with particularity what
    specific threat required the use of the WRAP.

           Early Warning System           (Substantial Compliance as of September 30,
                                          2019 through September 30, 2020)

           The Department implemented an Employee Review System that was approved by
    the Rosas Monitors as a pilot program at the Downtown Jail Facilities on July 27, 2018,
    and expanded it to the DOJ facilities on October 25, 2018. The Department achieved
    Substantial Compliance with the Early Warning Provisions at the DOJ facilities as of



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    September 30, 2020, and these provisions were not subject to Monitoring during the
    Thirteenth Reporting Period.




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            82.     With respect to paragraph 6.16 of the Rosas Implementation Plan, the
    County and the Sheriff will ensure that Sheriff’s Department personnel responsible for
    collecting prisoners’ grievances as set forth in that paragraph are also co-located in the
    Century Regional Detention Facility.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 15, 2016, through
                           December 31, 2017)

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 82 in the Thirteenth
    Reporting Period.




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             83.    The County and the Sheriff will install closed circuit security cameras
    throughout all Jails facilities’ common areas where prisoners engage in programming,
    treatment, recreation, visitation, and intra-facility movement (“Common Areas”),
    including in the Common Areas at the Pitchess Detention Center and the Century
    Regional Detention Facility. The County and the Sheriff will install a sufficient number
    of cameras in Jails facilities that do not currently have cameras to ensure that all
    Common Areas of these facilities have security-camera coverage. The installation of
    these cameras will be completed no later than June 30, 2018, with TTCF, MCJ, and IRC
    completed by the Effective Date; CRDF completed by March 1, 2016; and the remaining
    facilities completed by June 30, 2018. The County and the Sheriff will also ensure that
    all video recordings of force incidents are adequately stored and retained for a period of
    at least one year after the force incident occurs or until all investigations and proceedings
    related to the use of force are concluded.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2015, through
                           June 30, 2016 at MCJ and IRC)

                           SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                           through September 30, 2016 at TTCF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                           March 31, 2017 at CRDF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2018, through
                           March 31, 2019 at NCCF and PDC North)

                           SUBSTANTIAL COMPLIANCE (as of July 1, 2018, through
                           June 30, 2019 at PDC South)

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 83 in the Thirteenth
    Reporting Period.




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            84.     The Sheriff will continue to maintain and implement policies for the
    timely and thorough investigation of alleged staff misconduct related to use of force and
    for timely disciplinary action arising from such investigations. Specifically:

           (a)     Sworn custody staff subject to the provisions of California Government
                   Code section 3304 will be notified of the completion of the investigation
                   and the proposed discipline arising from force incidents in accordance
                   with the requirements of that Code section; and

           (b)     All non-sworn Sheriff’s Department staff will be notified of the proposed
                   discipline arising from force incidents in time to allow for the imposition
                   of that discipline.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2017, through
                          June 30, 2018 (verified))

            Substantial Compliance under the Compliance Measures requires the Department
    to demonstrate that 95% of the investigations of force incidents in which sworn custody
    staff and non-sworn custody staff were found to have violated Department policy or
    engaged in misconduct were completed and administrative action, which could include
    discipline, was taken within the time frames provided for in Government Code Section
    3304 and relevant Department policies.

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 84 in the Thirteenth
    Reporting Period.




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           85.     The County and the Sheriff will ensure that Internal Affairs Bureau
    management and staff receive adequate specialized training in conducting investigations
    of misconduct.

             STATUS:           SUBSTANTIAL COMPLIANCE (as of April 1, 2021, through
                               September 30, 2021 (verified))

             The Parties agreed on Revised Compliance Measures in 2021. Substantial
    Compliance requires the Department to provide the Monitor with (1) the
    curriculum/syllabus for the two specialized courses, Internal Affair Investigations and
    Interview and Interrogation, given to IAB management, and (2) a list of the sworn
    personnel assigned to IAB and proof that such personnel successfully completed the
    training. Substantial Compliance requires the Department to demonstrate that 90% of the
    personnel assigned to IAB have successfully completed one course of the required
    training within 3 months of their start date, and the second course within 6 months of
    their start date.

            The County’s Thirteenth Self-Assessment reports that 94% of the IAB
    investigators completed both of the required courses as of the end of the Second Quarter
    of 2021 and 91% as of the end of the Third Quarter of 2021. These results have been
    verified by the Monitor’s auditors. 33




    33
       Because the Revised Compliance Measures went into effect during the Thirteenth Reporting Period,
    determining compliance for personnel who started in the Internal Affairs Bureau during the Thirteenth
    Reporting Period was somewhat complicated. Going forward, to be counted as compliant, all personnel
    starting in the Internal Affairs Bureau must complete these trainings within 3 and 6 months of their actual
    start dates in Internal Affairs.


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                   86.     Within three months of the Effective Date, the County and the
    Sheriff will develop and implement policies and procedures for the effective and accurate
    maintenance, inventory, and assignment of chemical agents and other security equipment.
    The County and the Sheriff will develop and maintain an adequate inventory control
    system for all weapons, including OC spray.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                           March 31, 2017 at MCJ and CRDF)

                           SUBSTANTIAL COMPLIANCE (as of October 1, 2016,
                           through December 31, 2017 at PDC North)

                           SUBSTANTIAL COMPLIANCE (as of February 1, 2017,
                           through March 31, 2018 at PDC South and PDC East)

                           SUBSTANTIAL COMPLIANCE (as of March 1, 2017,
                           through March 31, 2018 at NCCF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                           March 31, 2018 at IRC)

                           SUBSTANTIAL COMPLIANCE (as of April 1,
                           2018, through March 31, 2019 at TTCF)

            CDM 7-08/080 ACCOUNTABILITY OF SPECIAL WEAPONS, effective
    October 14, 2016, requires each facility to have unit orders that “establish procedures for
    the storage, issuance, reissuance, accountability, maintenance, and periodic inventory of
    all weapons. . . stored at, or issued from, the facility,” which includes detailed
    requirements for the “Inventory, Control, and Accountability of Aerosol Chemical
    Agents.”

             In addition to providing written policies and procedures, Substantial Compliance
    requires the Department to provide up-to-date Unit Orders for each jail requiring the
    inventory and inspection of special weapons, and armory audit logs documenting the
    inventory and control of armory-level weapons. The Department previously maintained
    Substantial Compliance with Paragraph 86 for twelve consecutive months at all of the
    facilities, and it was not subject to monitoring with this provision in the Thirteenth
    Reporting Period.




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   NO.       PROVISION                      STATUS                            SUBSTANTIAL
                                                                              COMPLIANCE
                                                                              DATES

  18         Suicide Prevention Training    Substantial Compliance            (10/1/17 at MCJ &
                                                                              PDC South) 1
                                                                              (9/1/17 at NCCF)
                                                                              (12/1/17 at PDC
                                                                              East)
                                                                              (4/1/18 at TTCF,
                                                                              IRC, & PDC North)
                                                                              (8/1/18 at CRDF)

  19         Crisis Intervention &          Substantial Compliance            (4/1/18 at MCJ,
             Conflict Resolution Training                                     NCCF, & IRC)
                                                                              (7/1/18 at TTCF)
                                                                              (12/1/18 at CRDF,
                                                                              PDC East, & PDC
                                                                              North)
                                                                              (3/1/19 at PDC
                                                                              South)

  20         Training at NCCF, PDC and      Substantial Compliance            (8/1/17 at PDC East,
             CRDF                                                             PDC North, NCCF,
                                                                              & CRDF)
                                                                              (10/1/17 at PDC
                                                                              South)

  21         CPR Certification              Substantial Compliance            (10/1/15 – 9/30/16 at
                                                                              PDC East & PDC
                                                                              South)
                                                                              (1/1/16 – 12/31/16 at
                                                                              NCCF, PDC North,
                                                                              & IRC)
                                                                              (4/1/16 – 3/31/17 at
                                                                              TTCF)
                                                                              (10/1/17 – 9/30/18 at
                                                                              MCJ)
                                                                              (7/1/18 – 6/30/19 at
                                                                              CRDF)

         1
         Substantial Compliance Dates in bold reflect that the Department has achieved
 Substantial Compliance with the training requirements or maintained Substantial Compliance for
 twelve consecutive months with the other requirements; the results were verified by the
 Monitor's auditors when required; and the County or designated facilities are no longer subject to
 monitoring of this provision pursuant to Paragraph 111 of the Settlement Agreement.
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  22    Use of Arresting and            Substantial Compliance   (7/1/16 – 6/30/17)
        Booking Documents

  23    Suicide Hazard Mitigation       Substantial Compliance   (7/12/18)
        Plans

  24    Suicide Hazard Inspection       Substantial Compliance   (10/1/17 – 9/30/18)

  25    Transportation of Suicidal      Partial Compliance
        Inmates (station jails)

  26    Identification and Evaluation   Substantial Compliance   (7/1/21 – 9/30/21)
        of Suicidal Inmates

  27    Screening for Mental Health     Substantial Compliance   (10/1/19 – 3/31/20,
        Care and Suicide Risk                                    10/1/20 – 3/31/21)

  28    Expedited Booking of            Substantial Compliance   (4/1/17 – 3/31/18 at
        Suicidal Inmates                                         IRC)
                                                                 (4/1/21 – 9/30/21 at
                                                                 CRDF)

  29    Mental Health Assessments       Substantial Compliance   (4/1/17 – 3/31/18)
        (of non-emergent mental
        health needs)

  30    Initial Mental Health           Substantial Compliance   (1/1/19 – 12/31/19)
        Assessments & Treatment
        Plans

  31    Electronic Medical Records      Partial Compliance
        Alerts

  32    Electronic Medical Records      Substantial Compliance   (1/1/16 – 12/31/16)
        – Suicide Attempts

  33    Supervisor Reviews of           Substantial Compliance   (7/1/16 – 6/30/17)
        Electronic Medical Records

  34    Discharge Planning              Non-Compliance

  35    Referral for Mental Health      Substantial Compliance   (11/1/17 – 12/31/18)
        Care

  36    Assessments After               Non-Compliance
        Triggering Events
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  37    Court Services Division          Partial Compliance
        Referrals

  38    Weekly Rounds in Restricted      Substantial Compliance           (1/1/16 – 12/31/16)
        Housing Modules

  39    Confidential Self-Referral       Substantial Compliance (NCCF     (7/1/17 – 6/30/18 at
                                         & PDC South)                     NCCF)
                                         Partial Compliance (TTCF, MCJ,   (4/1/21 – 9/30/21 at
                                         CRDF, & PDC North)               PDC South)
                                         Not Rated (PDC East)

  40    Availability of QMHPs            Partial Compliance

  41    FIP Step-Down Protocols          Substantial Compliance           (4/1/21 – 9/30/21)

  42    HOH Step-Down Protocols          Compliance Suspended

  43    Disciplinary Policies            Substantial Compliance (NCCF   (10/1/17 – 9/30/18 at
                                         & PDC North)                   NCCF & PDC
                                         Partial Compliance (CRDF, MCJ, North)
                                         & TTCF)

  44    Protective Barriers              Substantial Compliance           (1/1/16 – 12/31/16)

  45    Suicide Intervention and         Substantial Compliance           (10/1/15 – 9/30/16 at
        First Aid Kits                                                    CRDF, NCCF,
                                                                          TTCF, PDC East, &
                                                                          PDC South)
                                                                          (1/1/16 – 12/31/16 at
                                                                          MCJ & PDC North)

  46    Interruption of Self-Injurious   Substantial Compliance           (7/1/20 – 6/30/21)
        Behavior

  47    Staffing Requirements            Non-Compliance

  48    Housekeeping and Sanitation      Substantial Compliance           (1/1/16 – 12/31/16)

  49    Maintenance Plans                Substantial Compliance           (3/1/16 – 2/28/17)
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  50        Pest Control                 Substantial Compliance             (1/1/16 – 12/31/16 at
                                                                            MCJ, NCCF, PDC
                                                                            North, TTCF, &
                                                                            CRDF)
                                                                            (4/1/16 – 3/31/17 at
                                                                            PDC South & PDC
                                                                            East)

  51        Personal Care & Supplies     Substantial Compliance             (1/1/16 – 12/31/16
                                                                            at MCJ, NCCF,
                                                                            PDC East, PDC
                                                                            North, PDC South,
                                                                            & TTCF)
                                                                            (7/1/16 – 6/30/17 at
                                                                            CRDF)

  52        HOH Property Restrictions    Partial Compliance

  53        Eligibility for Education,   Substantial Compliance             (7/1/21 – 9/30/21)
            Work and Programs

  54        Privileges and Programs 2    Partial Compliance

  55        Staff Meetings               Substantial Compliance             (10/1/16 – 9/30/17 at
                                                                            CRDF)
                                                                            (4/1/17 – 3/31/18 at
                                                                            PDC North)
                                                                            (4/1/18 – 3/31/19 at
                                                                            MCJ)
                                                                            (7/1/19 – 6/30/20 at
                                                                            TTCF)

  56        Changes in Housing           Substantial Compliance             (1/1/16 – 12/31/16)
            Assignments

  57        Inmate Safety Checks in      Substantial Compliance (MCJ &      (4/1/17 – 3/31/18 at
            Mental Housing               PDC North)                         MCJ)
                                         Partial Compliance (TTCF &         (7/1/21 – 9/30/21 at
                                         CRDF)                              PDC North)



        2
          Per agreement of the parties, the County must maintain Substantial Compliance for two
 additional quarters under the revised Compliance Measures.
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  58    Inmate Safety Checks in     Substantial Compliance (PDC   (1/1/16 – 12/31/16 at
        Non-Mental Housing          South, PDC North, PDC East,   PDC South, PDC
                                    CRDF, IRC, & NCCF)            North, & PDC East)
                                    Partial Compliance (TTCF &    (7/1/17 – 6/30/18 at
                                    MCJ)                          CRDF)
                                                                  (10/1/17 – 9/30/18 at
                                                                  IRC)
                                                                  (4/1/21 – 9/30/21 at
                                                                  NCCF)

  59    Supervisor Rounds           Substantial Compliance        (1/1/17 – 12/31/17 at
                                                                  PDC East & MCJ)
                                                                  (4/1/17 – 3/31/18 at
                                                                  NCCF)
                                                                  (10/1/17 – 9/30/18 at
                                                                  CRDF)
                                                                  (1/1/18 – 12/31/18 at
                                                                  PDC North & PDC
                                                                  South)
                                                                  (4/1/18 – 3/31/19 at
                                                                  TTCF)

  60    Implementation of Quality   Substantial Compliance        (4/1/19 – 3/31/20)
        Improvement Program

  61    Requirements of Quality     Partial Compliance
        Improvement Program

  62    Tracking of Corrective      Partial Compliance
        Action Plans

  63    Sufficient HOH and MOH      Patrial Compliance (TTCF)
        Housing                     Non-Compliance (CRDF)

  64    Plans for Availability of   Non-Compliance
        Inpatient Health Care

  65    Administration of           Partial Compliance
        Psychotropic Medication

  66    Active Mental Health        Partial Compliance
        Caseloads
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  67    Prisoner Refusals of          Partial Compliance
        Medication



  68    Contraband Searches           Substantial Compliance (MCJ,   (1/1/16 – 12/31/16 at
                                      NCCF, PDC East, PDC South      MCJ, NCCF, PDC
                                      PDC North, & TTCF)             East, PDC South, &
                                      Partial Compliance (CRDF)      PDC North)
                                                                     (1/1/17 – 12/31/17 at
                                                                     TTCF)

  69    Clinical Restraints in CTC    Substantial Compliance         (7/1/18 – 6/30/19)

  70    Security Restraints in HOH    Partial Compliance
        and MOH

  71    Therapeutic Services for       Substantial Compliance        (7/1/16 – 6/30/17)
        Inmates in Clinical Restraints

  72    Administrative Reviews        Substantial Compliance         (1/1/17 – 12/31/17)

  73    Reporting of Self-Injurious   Substantial Compliance         (10/1/17 – 9/30/18)
        Behavior and Threats

  74    Law Enforcement               Substantial Compliance         (9/1/16 – 12/31/17)
        Investigations of Suicides

  75    Management Reviews of         Substantial Compliance         (10/1/17 – 9/30/18)
        Suicide Attempts

  76    Management Reviews of         Substantial Compliance         (9/1/16 – 12/31/17)
        Suicides

  77    Custody Compliance and        Partial Compliance
        Sustainability Bureau

  78    Suicide Prevention Advisory   Substantial Compliance         (5/11/16 – 5/18/17)
        Committee

  79    Therapeutic Services in       Non-Compliance
        Mental Health Housing

  80    Out-of-Cell Time in HOH       Non-Compliance
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  81    Implementation of Rosas
        Recommendations

               Training              Partial Compliance

               Use of Force          Partial Compliance

               Reporting and          Partial Compliance
               Investigation of Force

               Grievances            Partial Compliance

               Management and        Substantial Compliance   (10/1/20 – 9/30/21)
               Administration

               Security Restraints   Partial Compliance

               Early Warning         Substantial Compliance   (10/1/19 – 9/30/20)
               System

  82    Grievances at CRDF           Substantial Compliance   (7/15/16 – 12/31/17)

  83    Closed Circuit Cameras       Substantial Compliance   (7/1/15 – 6/30/16 at
                                                              MCJ & IRC)
                                                              (10/1/15 – 9/30/16 at
                                                              TTCF)
                                                              (4/1/16 – 3/31/17 at
                                                              CRDF)
                                                              (4/1/18 – 3/31/19 at
                                                              NCCF & PDC
                                                              North)
                                                              (7/1/18 –6/30/19 at
                                                              PDC South)

  84    Investigation of Staff       Substantial Compliance   (7/1/17 – 6/30/18)
        Misconduct

  85    Internal Affairs Bureau      Substantial Compliance   (4/1/21 – 9/30/21)
        Training
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  86    Maintenance and Inventory   Substantial Compliance   (4/1/16 – 3/31/17 at
        of Security Equipment                                MCJ & CRDF)
                                                             (10/1/16 – 12/31/17 at
                                                             PDC North)
                                                             (2/1/17 – 3/31/18 at
                                                             PDC South & PDC
                                                             East)
                                                             (3/1/17 – 3/31/18 at
                                                             NCCF)
                                                             (4/1/17 – 3/31/18 at
                                                             IRC)
                                                             (4/1/18 – 3/31/19 at
                                                             TTCF)
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                 Substantial    Partial        Non-         Suspended    Substantial       No Longer
                 Compliance     Compliance 1   Compliance   (Some Or All Compliance        Subject To
                 (Provisions)                               Facilities)  (Facilities) 2    Monitoring 3

First 4          5              16                                         10

Second           14             30             13                          24

Third            22             27(1)          10                          29              4(2)

Fourth           24             26(1)          10                          29              10(2)

Fifth            23             24(2)          7                           34              15(5)

Sixth            32             22             7                           38              18(9)

Seventh          30             23             7                           39              21(10)

Eighth           35             20             6                           42              27(9)

Ninth            36             22             4                           43              31(8)

Tenth            39             21             3                           45              32(8)

Eleventh         38             18             5            2              44              34(7)

Twelfth          38             18             6            1              44              36(6)

Thirteenth       42             14(1)          6            1              47              36(6)




             1
              The figure in parenthesis under Partial Compliance is the number of additional
     provisions where some facilities were in Partial Compliance and other facilities were in Non-
     Compliance.
            2
              This represents the number of provisions where the Department is in Substantial
     Compliance at all or some of the facilities.
            3
              The figure in parenthesis under No Longer Subject to Monitoring is the number of
     additional provisions where some facilities are no longer subject to monitoring.
            4
              During the First Reporting Period, 43 provisions were not subject to monitoring.
